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                         UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


                                      )
MONROE COUNTY EMPLOYEES’ )                   Civil Action No. 1:17-cv-00241-MHC
RETIREMENT SYSTEM and                 )
ROOFERS LOCAL NO. 149 PENSION )              CLASS ACTION
FUND, Individually and on Behalf of )
All Others Similarly Situated,        )      CONSOLIDATED COMPLAINT FOR
                                      )      VIOLATION OF THE FEDERAL
                          Plaintiffs, )      SECURITIES LAWS
                                      )
      vs.                             )
THE SOUTHERN COMPANY,                 )
THOMAS A. FANNING, ART P.             )
BEATTIE, EDWARD DAY, VI,              )
G. EDISON HOLLAND, JR.,               )
JOHN C. HUGGINS, THOMAS O.            )
ANDERSON,                             )
                                      )
                          Defendants. )
                                      )




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        1.       Plaintiffs, individually and on behalf of all others similarly situated, by

plaintiffs’ undersigned attorneys, allege the following based upon personal knowledge

as to plaintiffs and plaintiffs’ own acts, and upon information and belief as to all other

matters based on the investigation conducted by and through plaintiffs’ attorneys,

which included, among other things, a review of Securities and Exchange

Commission (“SEC”) filings by The Southern Company (“Southern Company”) and

Mississippi Power Company (“Mississippi Power”) (and together with Southern

Company (the “Company”)), as well as media and analyst reports about the Company,

internal documents, statements by percipient witnesses to the alleged fraud, and

defendants’ own post-Class Period admissions. Plaintiffs believe that substantial

additional evidentiary support will exist for the allegations set forth herein after a

reasonable opportunity for discovery.

        2.       Plaintiffs bring this securities class action on behalf of all persons who

purchased or otherwise acquired Southern Company common stock between April 25,

2012 and October 30, 2013, inclusive (the “Class Period”), against Southern Company

and certain Company executives for violations of the Securities Exchange Act of 1934

(“1934 Act”).




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I.      INTRODUCTION AND SUMMARY OF THE FRAUD
        3.       This securities class action arises from defendants’ false statements and

omissions to investors regarding the construction and completion of a “clean coal”

power plant located in Kemper County, Mississippi (“Kemper Plant”). The Kemper

Plant – the first of its kind in Mississippi and one of the first in the United States –

was designed to turn lignite coal into a synthetic gas (“syngas”) that could then be

used to fuel the power plant. A critical component of the plant was the gasifier, in

which the lignite coal was subjected to extreme heat and pressurization in order to

create syngas.

        4.       Southern Company stood to obtain hundreds of millions of dollars in

federal tax credits for the construction of the Kemper Plant, but only on one condition:

the plant had to achieve a commercial operation date (“COD”) of no later than May

11, 2014.1 The construction of the Kemper Project was also subject to monitoring by

an Independent Monitor retained by the Company’s regulator, the Mississippi Public

Service Commission (“PSC”), who monitored construction progress, reviewed costs

and plans, and advised the PSC on the wisdom of continuing the project. The

Company needed to convince its regulator that construction of the plant was on time

1
   Defendants also faced a May 1, 2014 deadline in order to receive other financial
incentives. See, e.g., ¶171. These May 2014 deadlines are referred to collectively as
the “May 2014 COD.”
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and on budget or risk being precluded from passing on construction costs to ratepayers

or, worse, having the plant canceled altogether.

        5.       It was imperative that the plant be completed on time. Indeed, investors

and the market focused on this deadline. As a result, defendants repeatedly assured

the market throughout the Class Period that the Kemper Plant “is on schedule,” “on

target,” and “will be on line in May 2014.” 2 Defendants also assured investors that

installation and assembly of the gasifier – “a critical piece” – was proceeding

“exceptionally well.”        In addition, defendants offered concrete, objectively-

measurable statements concerning the status of the project, stating throughout the

Class Period that construction was “halfway,” “70 percent complete,” and “nearly 75

percent complete.”

        6.       Defendants’ representations were false.       In truth, the plant was

measurably behind schedule, and a May 2014 completion date was impossible. As

described in an exposé published in The New York Times after the end of the Class

Period, which was based on the review of internal Company documents and emails,

hundreds of hours of secretly recorded conversations, interviews with a former

Southern Company employee turned whistleblower, Brett Wingo, and more than 30


2
    Here, as elsewhere, emphasis is added unless noted otherwise.
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interviews with regulators, defendants had “drastically understated the project’s cost

and timetable, and repeatedly tried to conceal problems as they emerged.” In one

phone conversation recorded during the Class Period and eventually revealed by The

New York Times, a Southern Company engineer told Wingo that “managers were

being ‘told to lie’ about the pace of progress.” The New York Times reported that still

another engineer had recounted during the Class Period that “managers were being

allowed to ‘screw’ with the schedule and ‘then claim they can meet all these dates,

and there’s no way.” Similarly, a Southern Company senior scheduling analyst

described defendants stated construction schedule during 2012 as little more than “a

pretty picture to show everybody that we’re all doing wonderful as opposed to what

reality showed on the ground.” Moreover, Wingo explained that the software used to

budget and schedule the Kemper Plant construction project had been deliberately

altered “so it no longer automatically adjusted the final price and completion date to

reflect problems as they emerged.”

        7.       Whistleblower Wingo described that, in order to meet the May 2014

COD and obtain the millions in federal tax credits, he and others “were under

tremendous pressure” during the Class Period to get the Kemper Plant designed,

procured, and built. Wingo, who worked on the gasifier, stated that there could be no

delays with the gasifier because that piece of the project was essential to the
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schedule’s “critical path.” As Wingo explained, “every day we lost in that particular

area of the plant, we would lose on the back end of the schedule. In other words, we

would miss our May 1, 2014 COD date.” As detailed by the Independent Monitor, the

Company’s consultant and numerous percipient witnesses, the gasifier suffered major

problems in early 2012 resulting in a delay of at least three to six months.

Accordingly, the May 2014 COD was not achievable. Nonetheless, the Company

“did not report a slip in [its] May 1, 2014 COD.” Wingo, who by 2012 was a project

manager working on the gasifier, stated: “[T]hat’s when I was pretty certain we had

something terribly wrong with our scheduling.” Wingo also discussed the gasifier

delays and their overall impact on the plant’s COD at monthly production meetings,

which defendants John Huggins and Tommy Anderson attended. Wingo stated that

management “threw together these half-assed schedules that made no sense”; once the

plant was put on a legitimate schedule showing that the plant could not be completed

by May 2014, defendants simply “broke logic ties” to claim that they could meet the

prescribed deadline. Wingo concluded: “Through lies, deceptions and half-truths and

an unwillingness to confront that, I believe they’ve damaged [their credibility]. We

chose not to [be truthful] and we did it multiple times.”

        8.       Other confidential witnesses similarly observed during the Class Period

that there was “no way this thing is going to get done” on time. One former Southern
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Company employee witnessed instances where employees at the Kemper Plant

falsified safety and compliance documentation in order to pass inspections by state

regulators, leading the employee to quit working at the plant. Another former

employee explained that the schedule delay was widely acknowledged and regularly

discussed at the plant. This employee revealed that there was an internal investigation

into the scheduling delays and cost overruns at the Kemper Plant in late spring of

2013. Another former employee responsible for submitting inspection reports

concluded that the May 2014 completion date was “a crazy ass date” and “ridiculous”

and another former also responsible for compiling monthly inspection reports was

demoted after complaining to his superiors that the May 2014 COD was unachievable.

        9.       Problems and delays with other, tangible construction materials necessary

to complete the plant further demonstrated that the plant was not on schedule and

would not be completed on time. For example, the plant was also experiencing severe

piping issues, such as pipes hanging by makeshift cables and ropes instead of being

fastened by pipe hangers, as required. As one Southern Company scheduling engineer

explained to Wingo, analyzing the remaining piping quantities is one of the best ways

to forecast the remaining work on a project. By late 2012 or early 2013, the

scheduling engineer informed Wingo that based on the remaining piping quantities,

there was no way the Kemper Plant could be completed by May 2014. The
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Independent Monitor similarly found that “[t]he late delivery of the pipe, valves, pipe

supports, and pipe hangers created major impacts in the sequence of construction” and

“caused a rippling effect in the succeeding activities in procurement, fabrication,

construction, and the startup phases, thus creating the field work-arounds and some

additional loss of schedule time.” The Independent Monitor also provided objective

percentage completion figures for several aspects of the plant, demonstrating that the

plant was far behind the completion percentages disclosed by defendants throughout

the Class Period.

        10.   Fearing that the truth about the construction schedule and the inability to

meet the COD would be revealed, defendant Ed Day warned that nothing regarding

the plant construction or schedule should be shared publicly: “I would like to remind

everyone ‘again,’ no numbers, schedules, or information in general should be

communicated to external parties until I review it/them first.” Similarly, according to

The New York Times exposé, after Wingo “provided company officials with a binder

of documents corroborating his allegations, he said he was ordered to stop sending

emails on the matter because they could become public through litigation.” Accounts

from other confidential witnesses corroborate this admonition. For example, one

witness was told that concerns should not be put in writing and that email was the

“kiss of death” at the Kemper Plant. This same witness stated that employees were
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discouraged from circulating negative information about the Kemper Plant in emails

and was warned after identifying problems or concerns with the plant: “You need to

learn how to play ball.” Another former employee stated that employees were warned

not to discuss scheduling delays with any outsiders, such as members of the press.

        11.   The defendants made the Class Period false statements concerning the

schedule with knowledge or reckless disregard for the truth. The Kemper Plant, a

first-of-its-kind project, was high on defendants’ radar. They spoke about it on every

single quarterly call during the Class Period and routinely issued press releases

assuring the market that the plant was “on schedule” and would be in service by May

2014. Defendant Tom Fanning stated publicly that Company executives “meet

regularly on this project” and “continue to actively manage ongoing pressures on

costs and schedule” associated with the Kemper Plant. Fanning also toured the

Kemper Plant in a bright red golf cart every two to three months and participated in

the “Executive Review Committee” charged with ensuring that the Kemper Plant

remained “on time, on budget, and in full compliance with all pertinent safety and

quality requirements.” In addition, defendants Fanning, Beattie, and Day met

regularly with senior executives of the division overseeing the Kemper Plant to

receive updates on the project. Moreover, defendant Day, who was “always on site”

at the Kemper Plant, witnessed firsthand the construction delays and problems.
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Similarly, defendant Huggins had ultimate management responsibilities for the

Kemper Plant, was actively involved in managing construction and attended monthly

production meetings where delays to critical path items, such as the gasifier, were

discussed. Defendant Anderson, too, was “regularly” on-site and was primarily

responsible for managing the Kemper Plant construction effort.

        12.   Defendants also had a strong motive to conceal the truth about the

schedule delays. First, defendants promised investors that it would complete the

Kemper Plant by the May 2014 COD. Second, should the completion date slip past

May 2014, the Company would lose hundreds of millions of dollars in federal tax

credits. Third, if the schedule slipped, the Company would also be precluded from

passing the construction costs on to ratepayers. Fourth, the Company had a deal with

the South Mississippi Electric Power Association (“SMEPA”), whereby SMEPA paid

a $150 million deposit toward a 15% ownership interest in the Kemper Plant, which

was repayable with interest in the event SMEPA canceled the deal if the plant was not

timely completed. (SMEPA ultimately canceled the deal, requiring repayment of the

deposit, plus $26 million in interest.) Finally, the Company had a deal with Treetop

Midstream Services, LLC (“Treetop”), whereby Treetop would purchase the CO2

byproduct generated by the Kemper Plant and construct a pipeline to offload the CO2

to its facilities, provided that the plant was timely constructed. (Treetop has since
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sued the Company for fraud, claiming it expended $100 million to construct a

pipeline.)

        13.   Stunningly, today, more than three years after the touted May 2014

COD, the Kemper Plant has yet to achieve commercial operation. Indeed, defendants

have missed, and pushed back, the COD 12 times between late 2013 and 2017.

According to a June 2017 Company update, moreover, the plant faces years of

additional work on gasifier units – a project defendants stated during the Class Period

was nearly complete. Clearly, the Kemper Plant was not “on schedule,” “70 percent”

or “75 percent” complete when defendants said as much in 2012 and 2013.

II.     JURISDICTION AND VENUE
        14.   The claims asserted herein arise under and pursuant to §§10(b) and 20(a)

of the 1934 Act, 15 U.S.C. §§78j(b) and 78t(a), and Rule 10b-5 promulgated

thereunder by the SEC, 17 C.F.R. §240.10b-5.

        15.   This Court has jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. §1331 and §27 of the 1934 Act.

        16.   Venue is proper in this District pursuant to §27 of the 1934 Act and 28

U.S.C. §1391(b). Southern Company is headquartered in this District and many of the

acts charged herein, including the preparation and dissemination of materially false

and misleading information, occurred in substantial part in this District.
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        17.     In connection with the acts alleged in this complaint, defendants, directly

or indirectly, used the means and instrumentalities of interstate commerce, including,

but not limited to, the mails, interstate telephone communications and the facilities of

the New York Stock Exchange (“NYSE”).

III.    THE PARTIES

        18.     Lead Plaintiff Roofers Local No. 149 Pension Fund (“Roofers 149”)

purchased Southern Company common stock during the Class Period as set forth in

the Certification previously filed (Dkt. 20-5) and incorporated herein, and was

damaged thereby.

        19.     Plaintiff Monroe County Employees’ Retirement System (“Monroe”)

purchased Southern Company common stock during the Class Period as set forth in

the certification previously filed (Dkt. No. 1) and incorporated herein, and was

damaged thereby. Roofers 149 and Monroe are hereby collectively referred to as

“plaintiffs.”

        20.     Defendant Southern Company is a utility holding company. Southern

Company’s operating subsidiaries include public utility companies located throughout

the Southeastern United States, including Georgia Power, Mississippi Power,

Alabama Power, Southern Power and Gulf Power. Southern Company maintains its

headquarters at 30 Ivan Allen Jr. Boulevard, N.W., Atlanta, Georgia 30308. Southern
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Company’s common stock is traded under the ticker “SO” on the NYSE, an efficient

market.

        21.   Defendant Thomas A. Fanning (“Fanning”) was, at all relevant times,

Chairman, President, Chief Executive Officer (“CEO”) and a director of Southern

Company.

        22.   Defendant Art P. Beattie was, at all relevant times, Executive Vice

President and Chief Financial Officer (“CFO”) of Southern Company.

        23.   Defendant Edward Day, VI (“Day”) was, from the start of the Class

Period through May 20, 2013, an Executive Officer of Southern Company and

President and CEO of Mississippi Power.

        24.   Defendant G. Edison Holland, Jr. (“Holland”) was, at all relevant times,

an Executive Officer of Southern Company and, since May 2013, President, CEO and

a director of Mississippi Power.

        25.   Defendant John C. Huggins (“Huggins”) was, from 2010 through May

20, 2013, employed by Southern Company as a general manager overseeing the

Kemper Plant startup, engineering, and construction services. In this role, he was

responsible for the overall startup and commissioning activities associated with the

project, including development of startup, turnover and initial operating procedures

for both the combined cycle facility and the gasification plant. On May 20, 2013,
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Huggins was promoted to Vice President of Generation Development for Mississippi

Power and remained in that role through the end of the Class Period. On August 9,

2013, Huggins, testifying on behalf of Mississippi Power, was asked who had

“primary responsibility for the Kemper Project and the decision making process.”

Huggins responded under oath: “Mississippi Power and the Generation Development

team, which I manage, have responsibility for the Kemper Project. We utilize existing

departments and their process and controls to manage the Project, including but not

limited to, [Mississippi Power] Accounting, Finance and Treasury, [Mississippi

Power] Transmission, [Mississippi Power] Supply Chain, [Mississippi Power]

Environmental, and [Southern Company Services] Engineering and Construction

Services.”

        26.   Defendant Thomas O. Anderson (“Anderson”) was, from July 2009

through May 2013, Vice President of Generation Development for Mississippi Power.

On January 25, 2013, Anderson, testifying on behalf of Mississippi, stated: “I have

primary responsibility for managing the Company’s effort to develop the Kemper

Project. In this role, I oversee the work being conducted and have access to the

resources and information necessary and sufficient to make a determination

concerning the Company’s efforts to date.”


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        27.   The defendants referenced above in ¶¶21-26 are collectively referred to

herein as the “Individual Defendants.” The Individual Defendants and the Company

are collectively referred to herein as “Defendants.” The Individual Defendants made,

or caused to be made, false and misleading statements that caused the price of

Southern Company common stock to be artificially inflated during the Class Period.

        28.   The Individual Defendants, because of their positions, possessed the

power and authority to control the contents of the Company’s quarterly reports,

shareholder letters, press releases, securities offering materials and presentations to

securities analysts, money and portfolio managers and institutional investors, i.e., the

market. They were provided with copies of and/or contributed to the Company’s

reports and press releases alleged herein to be misleading prior to or shortly after their

issuance and had the ability and opportunity to prevent their issuance or cause them to

be corrected. Because of their positions, and their access to material non-public

information available to them but not to the public, the Individual Defendants knew or

recklessly disregarded that the adverse facts specified herein had not been disclosed to

and were being concealed from the public and that the positive representations being

made were then materially false and misleading. The Individual Defendants are liable

for the false and misleading statements pleaded herein.


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IV.     BACKGROUND
        29.   Southern Company is a utility holding company based in Atlanta,

Georgia. Southern Company’s operating subsidiaries include public utility companies

located throughout the Southeastern United States such as Georgia Power, Mississippi

Power, Alabama Power, Southern Power and Gulf Power, among others.

        30.   Mississippi Power is a wholly-owned subsidiary of Southern Company.

Mississippi Power operates as a vertically integrated utility providing electricity to

retail customers within the State of Mississippi and to wholesale customers in the

Southeast.

        31.   Southern Company Services, Inc., headquartered in Birmingham,

Alabama, is the shared services division of Southern Company. Southern Company

Services provides administrative, engineering, and operational services to all of

Southern Company’s operating divisions, including Mississippi Power.

        32.   The Mississippi PSC regulates telecommunications, electric, gas, water

and sewer utilities. The PSC has regulatory authority over Mississippi Power.

        33.   In January 2009, Mississippi Power announced its plans to construct a

new “clean coal” plant located in Kemper County, Mississippi which would utilize an

integrated coal gasification combined cycle technology. According to Defendants,



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“the state-of-the-art plant represents the first advanced gasification generating facility

with carbon capture capabilities in Mississippi, and one of the first in the country.”

        34.   The Kemper Plant’s state-of-the-art integrated coal gasification combined

cycle (“IGCC”) technology involved two main components to produce electricity: a

coal-gasification plant and a combined-cycle power plant. The gasification process

involved using extreme heat and pressurization to turn lignite coal into a synthetic gas

(syngas) that could then be used to fuel the combined-cycle power plant. In addition,

the Kemper Plant was designed to capture and sequester at least 65% of the CO2

produced by the plant to be used by third parties in enhanced oil recovery. According

to the Independent Monitor, the gasifier was “the most critical and complex part of the

project.”

        35.   During 2009, Mississippi Power received notification from the Internal

Revenue Service (“IRS”) formally certifying that the IRS had allocated $133 million

of Internal Revenue Code §48A tax credits (Phase I) to Mississippi Power for the

construction of the Kemper Plant. The utilization of Phase I credits was dependent

upon meeting the IRS certification requirements, including a project completion date,

also known as the COD, for the Kemper Plant of no later than May 11, 2014. The

COD is the date when a power plant has (i) been commissioned, (ii) been determined

to be mechanically complete, (iii) passed all required performance and emissions tests,
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and (iv) been deemed ready to reliably supply electrical energy and capacity to the

transmission grid.

        36.   In June 2010, the Mississippi PSC issued a certification of public

convenience and necessity (“CPCN”) authorizing the acquisition, construction, and

operation of the Kemper Plant. The Mississippi PSC’s CPCN order (1) approved a

construction cost cap of up to $2.88 billion (any costs above this amount could not be

passed on to Mississippi Power customers and would be paid by the Company), and

(2) approved a ratepayer-funded allowance to cover the financing of construction

costs through May 1, 2014 (any construction financing costs incurred after this date

could not be passed on to Mississippi Power customers).

        37.   The 2010 PSC order further mandated that the PSC would “retain

Independent Monitors to assist the Commission in its statutory duties by monitoring

Project progress, reviewing costs and plans, and advising the Commission on

questions of prudence and on the wisdom of continuing the Project.” Burns and Roe

Enterprises, Inc. (“BREI” or the “Independent Monitor”) was engaged in early 2011

as an Independent Monitor.

        38.   In a July 28, 2010 earnings call, Southern Company announced that the

Kemper Plant had been approved by the PSC. Southern Company officials stated the


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plant’s construction cost to be $2.4 billion and that it would be in service by May

2014.

        39.   On December 16, 2010, the Company broke ground on construction of

the Kemper Plant.

        40.   Mississippi Power contracted Southern Company Services to provide

engineering, design, and construction services for the Kemper Plant.

        41.   On March 15, 2012, the Mississippi Supreme Court reversed the PSC’s

CPCN order for the Kemper Plant. The Mississippi Supreme Court directed the PSC

to correct its order to include substantial evidence supporting its decision granting the

CPCN.

        42.   The PSC’s April 24, 2012 order on remand from the Mississippi Supreme

Court issued a new CPCN authorizing the acquisition, construction and operation of

the Kemper Plant. The PSC’s order required Mississippi Power to provide monthly

progress reports to the PSC and to indicate whether the “[p]roject is on schedule and

on budget.”

        43.   At the start of the Class Period, Defendants assured investors that the

project would be completed by the May 2014 COD deadline and total construction

costs would not exceed the $2.88 billion PSC cost cap.


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        44.   Throughout the Class Period, although construction problems and major

delays proliferated, Defendants repeatedly assured investors that the project would be

completed by the May 2014 COD deadline. The May 2014 COD date was critical for

numerous reasons; most notably, it was the deadline imposed by the IRS to recognize

the Phase I tax credits. According to the Independent Monitor retained by the PSC,

“the May 2014 [completion date] was driven by many factors including, most

importantly, the $133 million 48A Phase I Investment Tax Credit . . . that required a

COD no later than May 11, 2014.” Defendants understood the importance of the 48A

Tax Credit deadlines. For example, Defendant Huggins acknowledged that missing

the COD associated with the Phase II 48A Tax Credits would constitute “financial

Armageddon.” Huggins also acknowledged that the missed deadline would spook

investors, garner harsh criticism from the news media and regulators and could lead to

bankruptcy. In addition, Defendants had at least four other powerful motives to

conceal the delays, including: (1) the PSC-imposed deadline to recover construction

financing costs from ratepayers; (2) the asset purchase agreement with SMEPA; (3)

the contract with Treetop; and (4) the PSC’s approval of a customer rate increase.

        45.   At the end of the Class Period, just months before the promised

completion date, Defendants disclosed that the Kemper Plant would miss the critical

May 2014 COD deadline and be forced to repay the IRS Phase I tax credits.
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        46.   Tellingly, the Kemper Plant delays and missed deadlines have continued

for over three years after the Class Period. As depicted in the chart below, Defendants

have missed, and pushed back, its COD deadline 12 times between late 2013 and

2017.




        47.   Most recently, in June 2017, more than three years after the original COD

deadline, Defendants announced that the Kemper Plant had missed yet another COD

deadline and the Kemper Plant was not yet fully commercially operable despite a

project cost of over $7.5 billion, nearly triple the original cost cap.




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V.      WITNESS ACCOUNTS AND OTHER EVIDENCE

        A.    The New York Times Exposé
        48.   The New York Times exposé was the first public revelation of the fraud

that is alleged herein. As set forth below, The New York Times included details

showing that the Defendants’ conduct was deliberate and more than mere

mismanagement or lack of prudency.

        49.   On July 5, 2016, The New York Times published an article exposing the

fraud at the Kemper Plant entitled, “Piles of Dirty Secrets Behind a Model ‘Clean

Coal’ Project.”3 The New York Times pointed out that, as of the date of the article, the

Kemper Plant was more than two years behind schedule and more than $4 billion over

its initial budget of $2.4 billion, and “it is still not operational” and that “[t]he plant

and its owner, Southern Company, are the focus of a Securities and Exchange

Commission investigation, and ratepayers, alleging fraud, are suing the Company.”

The New York Times described its extensive investigation into the problems infecting

the Kemper Plant:

        [A] review by The New York Times of thousands of pages of public
        records, previously undisclosed internal documents and emails, and 200
        hours of secretly though legally recorded conversations among more
        than a dozen colleagues at the plant offers a detailed look at what went
        wrong and why.

3
     See https://www.nytimes.com/2016/07/05/science/kemper-coal-mississippi.html.
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The internal documents and recorded telephone conversations referenced in The Times

article           are        contained          on        the         internet       at

https://www.thehistoryproject.com/projects/embed-view/2914. After analyzing the

evidence, The Times concluded that Southern Company “repeatedly tried to conceal

problems as they emerged”:

                 Those documents and recordings, provided to The Times by a
          whistle-blower, an engineer named Brett Wingo, and interviews with
          more than 30 current and former regulators, contractors, consultants or
          engineers who worked on the project, show that the plant’s owners
          drastically understated the project’s cost and timetable, and repeatedly
          tried to conceal problems as they emerged.

The Times focused on federal subsidies as providing “a shared and powerful

incentive” to commit fraud:

                The system of checks and balances that are supposed to keep such
          projects on track was outweighed by a shared and powerful incentive:
          The company and regulators were eager to qualify for hundreds of
          millions of dollars in federal subsidies for the plant, which was also
          aggressively promoted by Haley Barbour, who was Southern’s chief
          lobbyist before becoming the governor of Mississippi. Once in office,
          Mr. Barbour signed a law in 2008 that allowed much of the cost of
          building any new power plants to be passed on to ratepayers before they
          are built.

          50.   The telephone recordings reviewed by The Times pointed to fraud.

Donald Falletta, an engineer, told Wingo during one call that “he too believed that

managers were being ‘told to lie” about the pace of progress.” Another engineer,


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Brent Duncan, recounted in a phone call that “managers were being allowed to

‘screw’ with the schedule and ‘then claim they can meet all these dates, and there’s

no way.’” All told, “at least six senior engineers from the plant said they believed that

the delays and cost overruns, as well as safety violations and shoddy work, were

partly the result of mismanagement or fraud.”

               The engineers joked that Mississippi Power, eager to show
        progress to investors and regulators, overstated certain milestones. For
        example, it bragged of achieving the “first fire,” which involves the
        lighting of the gasifier, when what they did fell far short of the actual
        definition, according to Mr. Wingo.

              “We burned natural gas in a pilot” light, Brandon Davis, an
        engineer, said during one phone conversation. “I accomplish that every
        day in my garage.”

Not surprisingly, the “intense deadline pressure” to meet the publicly-disclosed

deadline led to shoddy work that ended up delaying the project even more:

               What troubled the engineers most was the poor quality of the
        work: leaking gaskets, cracked ductwork, and pipes missing inspection
        records, valves and supports. Ryan Brown, a plant engineer, said during
        a phone call that he was having to “go back and do some sort of major
        repair or rebuild” for every piece of work handed to him by the plant’s
        construction teams, which were under intense deadline pressure.

Rather than disclose the problems, Southern Company fervently concealed the

scheduling delays, pretending that they arose from “‘unknown unknowns,’ as Tom

Fanning, the chief executive of Southern Company, has often called them – like bad

weather, labor shortages and design uncertainties.” Landon Lunsford, an engineer at
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Kemper told Wingo during one recorded call that “[t]he company will never admit the

project-management problems because they will attract more scrutiny from regulators.

. . . ‘As long as they can talk away the results as attributable to something else other

than just poor performance, the other public service commissions can’t hold them over

the fire as much,’ he added.”

        51.   On June 5, 2013, Yvonne Avila (a Project Engineer for the Kemper

Plant) sent an email to Brett Wingard (the Engineering & Procurement Manager for

the entire Kemper Plant) alerting him to “two potentially big issues.” Avila explained

that another manager had instructed her to change the piping quantity needed for

construction because an additional 200,000 linear feet of piping was needed to finish

the job. Avila recounted that on a call that afternoon, Coy Graham, an Assistant

Construction Site Manager over the gasifier, “started going off about how they keep

getting [isometric drawings] everyweek, and that they based all the schedule

rebaseline off of the drawings they had at the time, and now the numbers keep

increasing and they don’t even know what is coming out, etc etc.”

        52.   In addition to the recorded calls and internal documents, The Times

article discussed Brett Wingo, who “was hired in 2007 by a subsidiary of Southern” as

a “midlevel manager to help oversee scheduling and some design decisions on a

project that he believed would make history.”
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              Before long, Southern began flying him around the country to
        explain the project to others. He received glowing performance reviews
        and was awarded an annual $2,000 “Southern Excellence” employee
        award.

             By 2012, though, Mr. Wingo had begun his transition to whistle-
        blower. . . .

              In increasingly testy meetings and emails over succeeding months,
        Mr. Wingo told his supervisors that other scheduling information that
        Mississippi Power and Southern Company were providing to the public
        was infeasible and misleading.

               Ed Day, Mississippi Power’s chief executive at the time, tried to
        tighten control over what was shared. “I would like to remind everyone
        ‘again,’ no numbers, schedules, or information in general should be
        communicated to external parties until I review it/them first,” Mr. Day
        wrote in an Aug. 8, 2012, email to senior staff.

              Others shared Mr. Wingo’s growing concerns. Tom Theodore, a
        scheduling consultant who worked on the Kemper project for about eight
        months in 2012, described the company’s stated schedule as little more
        than “a pretty picture to show everybody that we’re all doing wonderful
        as opposed to what reality showed on the ground.”

              His predecessors had altered the software so it no longer
        automatically adjusted the final price and completion date to reflect
        problems as they emerged, he said.

        53.   “After Mr. Wingo provided company officials with a binder of

documents corroborating his allegations, he said he was ordered to stop sending

emails on the matter because they could become public through litigation.” “Mr.

Wingo was fired in February [2016], a move that the Occupational Safety and Health

Administration later ruled illegal.” Wingo “refused an offer of roughly $975,000 from

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the company to keep quiet, according to interviews and court records related to his

whistle-blower claims. Southern was then granted a restraining order, later dropped,

forbidding him from speaking publicly about the plant, court records show.”

        54.   The New York Times concluded that Southern Company duped its

“unwitting investors and some of the lowest-income ratepayers in the country”:

                In the end, the Kemper project is a story of how a monopoly
        utility, with political help from the Mississippi governor and from
        federal energy officials who pressured state regulators in letters to
        support the project, shifted the burden of one of the most expensive
        power plants ever built onto the shoulders of unwitting investors and
        some of the lowest-income ratepayers in the country.

        55.   The evidence and conclusions in The New York Times publicly revealed

for the first time that Defendants had engaged in deliberate conduct to deceive the

market and investors regarding the schedule delays infecting the Kemper Plant.

Newly revealed internal documents, emails and memoranda, along with the recorded

telephone conversations of numerous percipient witnesses to the events at the Kemper

Plant (including Brett Wingo), led The Times to conclude that Southern Company

“repeatedly tried to conceal problems as they emerged.” Notably, The New York

Times included accounts of “at least six engineers from the [Kemper P]lant” – never

revealed publicly before this exposé – who “said they believed that the delays and cost




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overruns, as well as safety violations and shoddy work, were partly the result of

mismanagement or fraud.”

        B.    Brett Wingo
        56.   Plaintiffs’ counsel interviewed Brett Wingo (both in-person and

telephonically) in January, February and May 2017 for more than five hours. In

addition, plaintiffs’ counsel reviewed footage of Mr. Wingo’s half-hour televised

interview with the Public Broadcasting System on September 9, 2016.4 The following

is a summary of Mr. Wingo’s statements during those interviews and court filings

after Wingo was placed on administrative leave. Mr. Wingo’s first-hand account

demonstrates that Defendants knowingly or recklessly made false and misleading

statements that Southern Company would meet the May 2014 deadline.

        57.   Wingo began working as an engineer for the Engineering and

Construction Services (“E&CS”) division of Southern Company in 2007 as a contract

employee. In that position, Wingo helped to design the Kemper Plant and ran pilot

tests for coal drying technology. In June 2009, he was hired by Southern Company as

a Senior Engineer and was charged with design responsibility over cooling water,

steam and condensate systems. Once the Kemper Plant was approved in 2010, Wingo

moved into a schedule-intensive procurement role, requisitioning equipment that was
4
    See http://www.pbs.org/video/2365833231.
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eventually installed in the plant. In August 2011, Wingo was promoted to Project

Manager over the gasifier island – the part of the plant that converts the lignite coal

into syngas. In this role, Wingo was responsible for managing the engineering

contract with KBR, a third-party contractor, and for ensuring that the engineering and

procurement for the coal gasification and cleanup systems, which Wingo described as

constituting the majority of the Kemper Plant, were on time and met the construction

schedule. As a Project Manager, Wingo reported to Brett Wingard, who was the

Engineering & Procurement Manager for the entire Kemper Plant.

        58.   In May of 2010, Southern Company’s upper management told Wingo and

others that if they missed the May 2014 COD, Southern Company would lose $133

million in federal tax credits. Wingo said that he and others “were under tremendous

pressure” to get the Kemper Plant designed, procured and built. Wingo said that he

first began notifying people that the projected May 2014 completion date for the

Kemper Plant was not realistic in early 2012, when the site started to have gasifier

delays caused by refractory failures. Prior to this time period, he was told that they

could not afford any delays with the gasifier, because it was essential to the schedule’s

“critical path.” Therefore, any delay in the completion of the gasifier would delay the

ultimate completion of Kemper.

        59.   Specifically, Wingo stated:
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        [W]e were told that in the gasifier area, particularly in the gasifier
        structure, where the gasifier is installed, this is the huge 200 foot tall, you
        know, 10 foot wide vessel that gasifies the coal as the centerpiece of the
        new technology, we were told that in late 2011, that we had no time to
        lose on that because every day we lost in that particular area of the plant,
        we would lose on the back end of our schedule. In other words, we
        would miss our May 1, 2014 COD date. Well in 2012 we had major
        refractory failure issues at our fabricator. Now this is not a huge deal in
        terms, it is a problem you can fix and we fixed it. The problem was it
        took a lot of time. And we lost somewhere between three and six
        months on the overall schedule and yet even through 2012 when we had
        a three to six month delay on the gasifier, we did not report a slip in our
        May 1, 2014 COD. That’s when I was pretty certain that we had
        something terribly wrong with our scheduling.

        60.    The refractory is a concrete lining in the gasifier that needed to have a

“cure-out,” which involved heating it to 1,800 degrees Fahrenheit to prepare the

structure for coal gasification. In February 2012, they tested the refractory by

attempting to heat it to 1,800 degrees. When the refractory reached a heat level of 600

degrees, an enormous steam explosion caused the refractory to fail. The cause of the

failure was unclear, and most of the gasifier construction had to be stopped while

there was an investigation. Although the construction team tried to do a “parallel

path,” also called “workarounds,” wherein they worked on other parts of the gasifier

and the plant while fixing the refractory problems, this was not effective. Wingo

compared the refractory failure to stopping traffic on five lanes of a six-lane highway.




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In other words, very little progress on the gasifier could be made while the gasifier

refractory problem was being fixed.

        61.   This gasifier delay lasted from February 2012 until approximately August

2012. Wingo said that as soon as he learned in February 2012 that there were

refractory failures on the gasifier, he knew that there was “no way in hell” that

Southern Company could meet the May 2014 deadline. During 2012, Wingo

expressed this view to his supervisor, Brett Wingard, and to other engineers.

According to Wingo, Coy Graham, an Assistant Construction Site Manager over the

gasifier, wrote a June 2012 email chain including his supervisor, David Empfield,

advising that the gasifier component delivery was so critical to the schedule the

gasifier delays they were facing would ultimately amount to a six-month delay to the

total project schedule. Wingo said that the gasifier delays and their impact on the

overall schedule were discussed during this time during monthly production meetings,

which Wingo usually attended. John Huggins, who was in charge of Startup at the

time, attended these production meetings and would have been aware of the gasifier

delays. Ashley Baker (Southern Company) and Aaron Abramowitz (Mississippi

Power) also regularly attended these meetings. Wingo said that Mississippi Power

Vice President Tommy Anderson occasionally attended these monthly production

meetings. Wingo also spoke with Anderson on an almost weekly basis, either over the
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phone or in person, because Anderson needed to approve all procurement purchases

during the late 2011 through 2012 timeframe. Therefore, Anderson would have been

well aware of the implications of the gasifier delay. Wingo concluded: “[W]e lost

somewhere between three and six months on the overall schedule and yet even

through 2012 when we had a three to six month delay on the gasifier, we did not

report a slip in our May 1, 2014 COD. That’s when I was pretty certain that we had

something terribly wrong with our scheduling.”

        62.   In addition to the gasifier delay, piping was another area during 2012 that

led Wingo to conclude that the May 2014 COD was unrealistic. Although the piping

should have been supported by something called a pipe hanger, the pipe in the gasifier

was jerry-rigged, held up by cables and ropes. Southern Company construction

employees actively complained that they were not getting enough pipe or pipe hangars

to build the plant. Wingo described the piping issue as a visible sign that the schedule

was off track. Specifically, Wingo stated:

        Well right off the bat, the first thing people noticed was that a lot of the
        pipe that we were hanging, when you build a multiple story structure and
        you run pipe through it at different levels, you have to support it, you
        don’t just lay it on the ground. It is usually over your head. So it has to
        be supported by something called a pipe hanger. We saw pipe in the
        gasifier structure that was being held up by cables and ropes, I mean it
        was not a good look and when you talk to construction about what was
        going on, which you didn’t have to talk to them, they were actively
        complaining, they said they weren’t getting enough pipe or pipe hangers
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        to build the plant. This was happening in 2012, so that was the first
        visible sign of something at the site.

        63.   Wingo said that when Defendants were faced with clear evidence of

scheduling delays, they simply “broke logic ties” to claim that they could meet the

May 2014 deadline. Wingo later discussed this with Tom Theodore, a contract

employee who was one of six to ten schedulers allowed to physically interact with the

schedule file (only a select group was allowed network rights to do so). Theodore

worked on the schedule for about eight months in 2012. Theodore recounted that any

time something came up that would push the completion date past May 2014, Steve

Owen instructed the schedulers to break logic ties in order to keep the completion

date. Babar Suleman replaced Tom Theodore in December 2012. At a meeting

between Wingo and Suleman in December 2012 or early 2013, Suleman agreed with

Wingo that it was not possible to meet the May 2014 deadline and said that based on

his thirty years of experience, piping quantities was one of the best ways to forecast

the remaining work on a project. Suleman said that he had already looked at the

remaining piping quantities, and there was no way the project could be completed in

2014.

        64.   Wingo stated: “They threw together these half-assed schedules that made

no sense that you couldn’t use as a project management tool. If you took Kemper and


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put it on a real schedule and then you asked people that were actually responsible for

executing their part of the schedule for input, to see if we can keep our promises, that

schedule would have blown way out to 2015, possibly beyond. In 2012, we had a

purposely broken project schedule that was designed to confuse everybody.”

        65.   In late 2012 or early 2013, Wingo, Brett Wingard (Wingo’s supervisor)

and Bruce Harrington (the Kemper Plant Manager) attended a meeting regarding

delays with the Kemper Plant’s gasifier. At that meeting, Wingard asked, “[w]hen are

we going to admit we’re not going to hit the May 1 deadline.” Bruce Harrington

responded, “[o]n May 2nd.”

        66.   In early 2013, Penny Manual was fired as the head of E&CS. Shortly

thereafter, Ed Day and Tommy Anderson were also fired. Around this time, Ted

McCullough, who replaced Penny Manual as the head of E&CS, visited the site and

was very upset at the very poor condition of the pipes, which had not been properly

installed. Around May 2013, COO Mark Croswhite sent an internal email lamenting

“failures of culture” and “failures of leadership” throughout the Company. In June

2013, all Southern Company departments were told to conduct a “cultural survey.”

As part of this survey, Ken Boyd and Brad Burke, high level managers from Southern

Company’s Research and Environmental Services division, interviewed Wingo and

other individuals in the Gasification Technologies Group. At the beginning of the
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interview, Wingo told Boyd and Burke that the “schedule is a lie” and that the May

2014 deadline was unachievable. He spoke with them for over an hour and gave

details on problems with the gasifier, other delays and the compressed commissioning

schedules that were unrealistic. He also explained that working with an impossible

schedule was very stressful and that poor morale could lead to turnover in the

Gasification Technologies Group. Wingo recalled that Boyd and Burke took notes

during the interview. Wingo never heard any follow-up from Boyd or Burke

regarding the issues he raised.

        67.   Wingo’s concern for the morale of his group led him to demand in the

summer of 2013 that someone produce a Resource Loaded Schedule.                  The

Gasification Technologies Group engineers were critical to the Startup of the plant,

and Kemper could not afford to lose these engineers. The uncertainty of the schedule

created chaos for the engineers, who were unable to plan vacations or anticipate when

they would be needed to complete various tasks. In addition to speaking with Boyd

and Burke during the cultural survey, Wingo and Landon Lunsford, who supervised

the engineers, reported the morale problems to Randall Rush, General Manager of

Gasification Technologies. Rush asked John Huggins to have a team meeting in

Tuscaloosa, Alabama (the midway point between the Kemper Plant and Birmingham,

where many of the engineers lived). Gasification engineers and various senior
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managers (including John Huggins, Ashley Baker and Steve Owen) met in Tuscaloosa

for three or four days in July 2013. During that time, the engineers conveyed all the

stress they were under, but Wingo felt that the managers were not really addressing

the source of the engineers’ stress, which was the uncertainty of the schedule. At the

meeting, which was attended by several dozen people, Wingo stood up and said that in

order to do their work properly and efficiently, his team needed an accurate Resource

Loaded Schedule “so that we’re not blamed for missing the COD.” Because Wingo

knew that Huggins would be reluctant to approve something that would contradict the

official plant schedule (showing a May 2014 completion date), Wingo suggested that

he build a completely parallel “play” or “sandbox” schedule so that Huggins would

not feel intimidated if Wingo came up with a different finish date than the official

schedule. Huggins, Rush, Baker, Owen and Lunsford went behind closed doors for

approximately twenty or thirty minutes. When they came out of the room, they

announced that they were naming Wingo as the new project manager for a Resource

Loaded Schedule for the Gasification Technologies Group.

        68.   Wingo was then transferred from the Engineering & Procurement group

under Brett Wingard to the Commissioning & Startup group. In his new role, he

reported to Joe Miller, the Commissioning & Startup Manager for the Kemper Plant (a

role that John Huggins held until he moved to Mississippi Power after Ed Day and
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Tommy Anderson were terminated). Wingo was tasked with providing to John

Huggins a Resource Loaded Schedule for gasification technologies employees, who

would have a significant role in the Startup of the plant. In order to schedule these

engineers and coordinate when various employees or experts would be assigned to

certain testing/startup duties, Wingo had to have a good handle on the total project

schedule so that he could anticipate when construction would be complete and

startup/testing could begin. Wingo described the Resource Loaded Schedule as a

“road map to commercial operation.” As he started working on a schedule for

Gasification Technologies, it became clear to Wingo that the official Kemper Plant

schedule was impossible to achieve. He concluded that the construction phase would

not be completed on schedule. Moreover, even if construction was completed on

time, there was insufficient time allotted for Commissioning and Startup in the

Kemper Plant’s official schedule. By mid-September 2013, Wingo completed his

own schedule for gasification technologies, which demonstrated there was no possible

way for the gasification testing and Startup processes to be completed by May 1,

2014. Wingo provided the schedule to Joe Miller. Wingo said that his schedule

anticipated various “excuses” that individuals in the Construction and Startup groups

would come up with to rebut his conclusions. Such excuses included that certain

construction packages could be sped up or certain “test packages” could be
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compressed or eliminated. Wingo removed these excuses by including a theoretical

contingency that construction could be completed by November 2013, which would

allow them to move to the testing and commissioning phase. He also eliminated all

test packages, reducing them to zero duration. Even with these hypotheticals, Wingo

determined that May 1, 2014 was “impossible”; Wingo’s schedule showed that the

Kemper Plant would not be complete until March or April 2015. When he presented

his own gasification technologies schedule to Joe Miller, Wingo emphasized that there

was something seriously wrong with the official schedule, and asked Miller what he

should do because he did not want to work with that schedule.

        69.   Wingo noted that key benchmarks for Startup included the first gasifier

heat-up and the first syngas production, which would have occurred within a few days

of the heat-up.    In 2013, everyone with whom he spoke in the Gasification

Technologies Group believed that it would take a minimum of one year to get from

the first syngas production to the completion date. The Commissioning and Startup

phase was not just fine-tuning, but rather a huge endeavor in which the Startup team is

trying to get the plant to run. The Startup team had to anticipate major control,

erosion and corrosion problems, among a myriad of issues. They also anticipated

problems with the computer code they wrote, which Wingo said was likely the largest

computer code ever written for an Emerson Ovation digital control system. When
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asked about Defendant Fanning’s statements attributing the delays on Kemper to the

fact that only about ten percent of engineering had been conducted in 2010, Wingo

said that Fanning’s excuses were a “false narrative” because (a) it is normal for such

projects to begin without being fully designed and (b) well over ninety percent of the

design on Kemper had been completed by late 2012.

        70.   Wingo concluded: “Through lies, deceptions and half-truths and an

unwillingness to confront that, I believe they’ve damaged [their credibility]. We

chose not to [be truthful] and we did it multiple times.”

        71.   Ultimately, after reporting his concerns about the schedule delay to his

supervisors, Wingo was ostracized. Isolated as a Project Manager, Wingo noticed a

severe drop off in high-level communication. Asked why he believed this occurred,

Wingo responded:

               Because I was messing up the story. There are two different
        stories. There’s the real story and then there’s the public story. The
        public story is that it’s all going great, we’re going to be online inside of
        2014, it’s going to be a great project for the people of Mississippi. What
        we could see internally was there was no way we we’re going to finish
        the project before the third or fourth quarter of 2016. A lot of that had to
        do with the fact that construction quality was terrible. One of the ways
        they were able to keep proclaiming earlier finish dates was construction
        would have something halfway complete with a lot of quality issues
        which would normally prevent the commissioning group from taking it
        over and testing it. But that’s not what happened on our project. Due to
        executive pressure, our commissioning group took these construction
        packages which still had sometimes 50% of the construction still left and
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        a lot of the inspection documentation was missing. But that was never
        added back to the schedule. It made it appear like we were finishing
        when in fact they were just kicking the can further down the road. We
        had a lot of construction work left. So when we were telling the world
        that we were going to finish in 2014, and this is back in 2014, I was
        telling management we were not going to finish until the third or fourth
        quarter of 2016 and I think time has vindicated that.

In August 2014, Wingo was put on paid administrative leave for eighteen months. On

September 23, 2014, while he was on paid leave, Wingo presented a binder of

information summarizing his allegations against Southern Company to Chief

Operating Officer Kim Greene. Wingo was ultimately terminated in 2016.

        72.   On February 19, 2015, the Southern Company filed an emergency

request to bar Wingo from, among other things, disclosing “certain allegations” he had

made against the Company. Southern Company sought to keep confidential “any

information concerning events which occurred during the course of Mr. Wingo’s

employment with [Southern Company Services].” The Company described the

information it sought to prevent Wingo from disclosing as highly confidential

information that would cause it “substantial and irreparable injury” were it to become

public. In its request to seal its court filings, the Southern Company conceded that it

“faces particularized harm associated with the public disclosure of confidential

settlement negotiations as well as the subject matter of the dispute resolved through

the settlement agreement.”
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         C.      Confidential Witnesses
         73.     Several former Company employees or consultants have provided

information demonstrating that Defendants’ Class Period statements were false and

misleading and that Defendants knew or recklessly disregarded the falsity or

misleading nature of their statements. The confidential witnesses (“CWs”) include

individuals formerly employed at the Company during the Class Period, whose

accounts corroborate one another, other sources set forth herein and facts now

admitted by Southern Company. The CWs provided information to plaintiffs’ counsel

and/or its investigator on a confidential basis and are particularly described by job

description and responsibility, and duration of employment, thereby providing

sufficient detail to establish their reliability and personal knowledge. As set forth

below, the information provided by the CWs supports a strong inference that

Defendants acted with scienter.

         74.     Confidential Witness No. 1 (“CW-1”) was employed by Southern

Company from the summer of 2013 to 2014 as a contract employee at the Kemper

Plant.        CW-1 was responsible for quality assurance for the electrical and

instrumentation segments; CW-1’s duties and responsibilities involved monitoring

construction, reviewing safety issues, and ensuring that the construction complied

with regulatory codes. In that position, CW-1 reviewed reports prepared by various
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quality control contract employees. CW-1 also prepared summary reports. These

reports were uploaded to the PIMS system, which CW-1 described as a data

acquisition management and archiving program that kept track of all documents

required to meet construction deadlines and government regulations. While employed

by Southern Company, CW-1 interacted with and sat in on monthly quality assurance

meetings with Dave Empfield, who managed construction of the Kemper Plant. CW-

1 said that the cost and schedule of the Kemper Plant was radically underestimated. In

fact, CW-1 explained that it became clear to CW-1 only two weeks after beginning

work at the Kemper Plant that construction of the plant would not be completed by the

May 2014 deadline and likely would not be completed for several years past that

deadline. For example, shortly after arriving at Kemper (August 2013), CW-1 noticed

that the gasifier was only two stories high and should have been 10 stories by that

date, an indication it was behind schedule. In about September 2013, CW-1 conveyed

this to a manager, Tom Noble. CW-1 told Noble, “no way this thing is going to get

done” on time. CW-1 noted that the Kemper Plant was “built to substandard

guidelines,” which CW-1 realized early in CW-1’s employment would create

compliance issues and construction delays. In September or October, CW-1 conveyed

the concerns about engineering and construction quality to Dave Empfield (Kemper

construction manager) and electrical managers Greg Watson and Brett Andrews.
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After expressing concerns regarding these issues to managers in emails, CW-1 was

told by managers Tom Noble and Mark Webb that these concerns should not be put in

writing and that email was the “kiss of death” at the Kemper Plant. CW-1 said that

generally employees were discouraged from circulating negative information about

the Kemper Plant in emails. CW-1 said that every time CW-1 identified a problem or

concern, CW-1 was told to be a team player: “You need to learn how to play ball.”

CW-1 said that Tom Noble (quality control manager) reported to Bob Collins who

reported to Dave Empfield. CW-1 stated that Tom Fanning visited the Kemper Plant

every two or three months. On each of those occasions, Dave Empfield escorted

Fanning on a site tour using a bright red golf cart. When CW-1 left the Kemper Plant

in the summer of 2014, CW-1 felt sure that construction on the Kemper Plant would

not be completed until 2017 or 2018. CW-1 also observed instances where employees

at the Kemper Plant, including manager Tom Noble, were falsifying instrumentation

safety and compliance documentation in order to pass inspections by state regulators.

When CW-1 reported this to the head of quality assurance, CW-1 was told not to

worry about it. CW-1 became so frustrated by this falsified inspection documentation

(and the direct involvement of Kemper Plant supervisors in the falsification of

documents) that CW-1 chose to quit working at the Kemper Plant.


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        75.   Confidential Witness No. 2 (“CW-2”) was employed by Southern

Company from 2011 to Fall 2013 at the Kemper Plant. CW-2 was employed as an

office coordinator and was responsible for providing administrative support to

approximately 25 construction managers, including Dave Empfield, Steve Owen, Coy

Graham, Ashley Baker, Brent Collins and Kelli Williams. CW-2 also provided some

support to other managers, including Defendants Anderson and Huggins. Based on

discussions with Dave Empfield, who CW-2 supported, CW-2 stated that Empfield

did not think the May 2014 completion deadline would be possible to achieve. Based

on plant logistics to which CW-2 was privy, CW-2 said that it was clear from the start

of CW-2’s employment in 2011 that the May 2014 deadline would not be possible to

achieve. According to CW-2, this concern was widely acknowledged and regularly

discussed by employees at the Kemper Plant with whom CW-2 spoke. In addition,

CW-2 said that Kemper employees were warned not to discuss the scheduling delay at

the Kemper Plant with any outsiders, such as members of the press. CW-2 said that

Southern Company executives, including Defendant Fanning, often visited the

Kemper Plant during CW-2’s employment at the plant and met with construction

managers once every approximately three months. CW-2 was involved in setting up

meeting space for Fanning’s visits. In addition to a site tour, CW-2 said that Ashley

Baker provided Fanning with a power point presentation about the status of the plant
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during Fanning’s visits.    Meetings between Ashley Baker, other construction

managers and Fanning occurred in trailers on-site at the Kemper Plant. John Huggins

was at the Kemper Plant “all the time.” Tommy Anderson was “regularly” at the site,

at least every two weeks and he would often remain at the Kemper Plant for a week at

a time. Day was “always” at the Kemper Plant. CW-2 revealed that there was an

internal investigation into scheduling delays and cost overruns at the Kemper Plant in

late Spring of 2013.

        76.   Confidential Witness No. 3 (“CW-3”) was employed by Southern

Company from 2008 to 2012 in Atlanta. From 2008 to 2010, CW-3 was employed as

an analyst in the risk management department. In early 2010, CW-3 changed

positions, working for Southern Company as a Financial Planning Analyst through the

summer of 2012. As a Financial Planning Analyst, CW-3 was responsible for

forecasting Southern Company’s cash and financial needs, compiling financial data

from subsidiaries such as Mississippi Power, and providing Southern Company’s

rating agencies with financial projections and metrics. In this role, CW-3 reported

directly to the Director of Investor Relations and Financial Planning at Southern

Company, Dan Tucker. CW-3 received data from Southern Company’s subsidiaries,

including Mississippi Power, which included monthly forecasts of revenues (based on

various rate-paying models) and expenditures for various projects, such as the Kemper
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Plant. The financial planning team in Atlanta aggregated the information from all

subsidiaries, put the information into complex models and analyzed the information

for Southern Company’s Treasury, Finance and Investment Departments. CW-3

learned that there were scheduling delays at some point before August 2012. At that

time in early 2012, there were certainly discussions among employees that Kemper

would not be completed in time. During 2012, CW-3 regularly participated in

conference calls with Moses Feagin, the CFO of Mississippi Power, to discuss

Mississippi’s future financing needs. CW-3 noted that while the Southern Company

finance team held similar calls with other Southern Company subsidiaries, the

Southern Company finance team took particular interest in the Kemper Plant due to

the size and risk associated with the plant, as well as the “haziness of the schedule.”

In addition to Feagin, other Mississippi Power employees participating in the

conference calls often included Matt Grice (the supervisor of Mississippi Power’s

forecasting team), Cindy Shaw (Mississippi’s Controller), Dan Tucker (Southern

Company’s Director of Investor Relations and Financial Planning), Mark Lantrip

(Southern Company’s Vice President of Finance) and John Haygood (Southern

Company’s finance manager). During these conference calls, Feagin and others from

Mississippi Power warned that there could be scheduling delays and budget overruns

for Kemper. This was relevant to the Southern Company finance team because any
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major delays or cost overruns could prompt the state regulators to change the rate

models that the financial planning team was using for projections. CW-3 noted

because Kemper was a “first of its kind” project, it was considered especially risky

and received heightened scrutiny from risk management employees and C-level

executives. CW-3 said that executives participated in risk management meetings held

on either a monthly or quarterly basis that gauged the risk for all major projects,

including Kemper. Fanning, Beattie and Todd Perkins also met regularly with senior

executives at the Engineering and Construction Services Division, as well as with

Mississippi Power executives like Ed Day, to receive updates on the project.

        77.   Confidential Witness No. 4 (“CW-4”) was a contract employee who

worked as a quality control manager at the Kemper Plant from January 2013 through

early 2014. CW-4 said that Tom Noble was responsible for coordinating the various

quality control managers, including CW-4.        CW-4 performed quality control

inspections on various aspects of the construction (including welding, piping and

concrete) of a conveyer system that was designed to bring lignite coal from the mine

into the plant. CW-4 completed routine inspection reports that were submitted to

Southern Company. CW-4 said that when CW-4 began working at the Kemper Plant

in January 2013, the plant was slated to be completed in May 2014. CW-4 thought the

2014 deadline was “crazy” and that it was clear to CW-4 while CW-4 worked at the
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Kemper Plant that there was “no way it could have made that date.” CW-4 said that

any 2014 deadline was “a lot of smoke” and “a crazy ass date.” When CW-4 stopped

working at the Kemper Plant in early 2014, the Startup group had not even begun to

test the gasification equipment, which was a clear indication to CW-4 that the Kemper

Plant was not even close to being finished. CW-4 said that throughout 2013, CW-4

and other individuals working at the Kemper Plant routinely discussed that it was not

realistic that the plant would be finished at any time in 2014. CW-4 also encountered

workers who were supposed to have been working at the site for only one year in

order to complete a limited project, but had been there for as long as three years –

which CW-4 took as another indication that completion in 2014 was “ridiculous.”

CW-4 noted that the project CW-4 was working on – the construction of the lignite

conveyer system – was slated to be completed within eight months of when CW-4

started at Kemper in January 2013. However, when CW-4 left the Kemper Plant 13

months later, the conveyer system had still not been completed. CW-4 said that the

dome that housed the lignite coal collapsed during the summer of 2013, and had to be

rebuilt. This contributed to delays in the construction of the conveyer system. After

the collapse, the original dome had to be demolished and a new one had to be

completely rebuilt.


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        78.   Confidential Witness No. 5 (“CW-5”) was employed as a contract

employee at Southern Company as a quality control manager from 2009 through

spring 2014. CW-5 started working at the Kemper Plant when the project broke

ground in 2010, and CW-5 continued to work there throughout the rest of CW-5’s

tenure at Southern Company. According to CW-5, it was the job of quality control

personnel to make sure everyone at the Kemper Plant, including Southern Company

employees and contractors, “were doing their job properly.” CW-5’s duties included

reviewing and monitoring both materials and construction work. CW-5 oversaw three

inspectors who completed daily inspection reports. CW-5 compiled the inspectors’

findings into monthly reports that were submitted to Southern Company’s office in

Birmingham. CW-5 said that the time constraints that Southern Company set on the

project were simply not realistic. CW-5 said that it was clear to CW-5 that a project

of the size and scope of the Kemper Plant was underestimated based on CW-5’s

experience helping to build power plants for a variety of companies throughout CW-

5’s career. One of the challenges to constructing a large power plant is that the

construction team is dependent on its suppliers to provide materials and equipment on

time, which is “always a wild card.” Throughout CW-5’s tenure at the Kemper Plant,

most of the suppliers were behind schedule in delivering product. Additionally, CW-5

said that the amount of “dirt work” and “stone work” required for Kemper was
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“astronomical.” CW-5 said another problem was the management at the site. All of

Southern Company’s top quality staffers who really knew about construction – those

that would normally be put into assistant project manager or project manager positions

– avoided being assigned to Kemper “like the plague” because they knew the schedule

and budget were impossible to achieve. Instead, Kemper was staffed with less

competent managers and superintendents. CW-5 said that Southern Company should

have had “the best and the brightest” working on the project, “but that’s not what

happened.” CW-5 said that these managers’ solution to scheduling delays seemed to

be to increase the amount of workers, which CW-5 thought was a bad idea that “never

works in construction.” At its peak while CW-5 was employed at the Kemper Plant,

there were 6,000 employees working at the site. This actually created less efficiency

rather than more efficiency because “people were working on top of each other.”

CW-5 sat in regular weekly meetings, which CW-5 believed were held every Tuesday,

with Kemper Plant upper managers such as Dave Empfield and assistant site manager

Brent Collins, as well as project managers representing the various construction

contractors. CW-5 said that Ashley Baker occasionally attended these meetings.

During the meetings, the contractors discussed their own construction schedules for

the sections of the plant on which they were working. CW-5 said that at these

meetings, various construction delays were discussed. CW-5 often left the meetings
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perplexed that no one was updating the schedule with a plan “to get us back on track.”

CW-5 expressed frustration after one of the weekly meetings in 2013. CW-5

approached Baker and Empfield and asked them, “[w]hat the hell is going on?” CW-5

lamented to Baker and Empfield that everyone was so far behind schedule, but no one

was talking about how to get everyone back on schedule, which CW-5 thought the

managers should have been discussing in the meetings.          Baker and Empfield

completely dismissed CW-5’s concerns, saying only that they had everything under

control and CW-5 should not worry about it. At some point after this incident, CW-5

was demoted to senior quality inspector.         Mark Webb, a Southern Company

employee, took over as manager. CW-5 thought that CW-5’s demotion was in

response to the conversation CW-5 had with Baker and Empfield in which CW-5

raised concerns about the schedule. CW-5 left Southern Company about six months

later. CW-5 was frustrated that CW-5 had been demoted after speaking CW-5’s mind.

        D.    The Independent Monitor’s Reports
        79.   In February 2011, the Mississippi Public Utilities Staff hired BREI, a

power plant design, engineering and construction company, to act as an independent

monitor of the Kemper Plant. BREI’s independent monitoring team was comprised of

senior level management and technical experts with extensive experience in the

development and execution of complex conventional, FOAK and emerging
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technology projects including gasification and IGCC projects. Gregory Zoll, BREI’s

project manager for the reviews, is a mechanical engineer with over 35 years of

experience in the development, design, engineering, environmental permitting, and

construction of independent power projects, combined cycle cogeneration plants,

refinery, utility, and bulk materials handling facilities. As Director of the Strategic

Consulting Division at BREI, Zoll had overall responsibility for project development

support including both fossil and renewable energy projects which included project

conceptual planning and design, environmental permitting, contract development, and

project execution oversight following financial closing.        In addition, Zoll has

performed over 25 Independent Engineering Due Diligence assignments in the

Independent Power, Utility and Advanced Technology areas for project financing and

project acquisitions. Zoll has conducted independent evaulations of power projects

including coal, gas-fired combined cycle facilities, IGCC, coal to liquids technologies,

and projects that have included CO2 separation and sequestration.

        80.   As an independent monitor, BREI was responsible for monitoring the

regulatory, financial and auditing aspects of the Kemper Plant. During the Class

Period, BREI conducted two primary reviews and prepared a report at the conclusion

of each. First, in 2012, BREI conducted an Independent Project Schedule and Cost

Evaluation (“IPSCE”). The findings and recommendations from the IPSCE were
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reported to the Company and the PSC in November 2012. Second, BREI conducted a

prudency examination for the period ending March 31, 2013. It filed its confidential

prudency report with the PSC in April 2014 and provided testimony regarding the

review in July 2014.

        81.   BREI’s IPSCE evaluation plan and methodology examined select areas

of the project, specifically the gasifier and gas treatment areas, to get a representative

cross-section of construction activities, schedule status and costs. These areas were

selected because they represented the highest level of construction criticality, the most

complex parts of the project, and the areas with technology risk. A field evaluation

was then conducted by a team of senior professionals experienced in evaluating

project engineering and construction status, cost estimating, project scheduling, and

procurement to assess the accuracy of the construction percent complete values

reported by the Company.

        82.   BREI’s IPSCE evaluation also included an evaluation of the project’s

most current project schedule which was updated and re-baselined on August 31,

2012. This evaluation focused on the Critical Path elements of the schedule using

Primavera P6 scheduling software. The evaluation considered the progress achieved

to date compared to the current target completion dates.


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        83.   In the November 2012 IPSCE Report, the Independent Monitor

determined that there were numerous critical path deliveries that were behind the

original November 2012 baseline plan.5 For example, the Independent Monitor found

that the gasifier refractory lined components were up to three months late. BREI

found that this delay also impacted gasifier structural steel erection and equipment

installations above a 605 foot elevation. As of November 2012, BREI determined that

these deliveries were about three months behind the original baseline schedule.

        84.   BREI also found that the remaining gasifier structural steel installation

and gasifier components, which needed to be delayed to accommodate the late gasifier

delivery dates, may result in up to a five-month delay in completing the gasifier

structure and systems.6

        85.   In November 2012, BREI found additional “critical path” delays. Based

on the project commodity charts, BREI learned that that several commodities were

behind the original baseline schedule as presented in the Company’s monthly


5
   “A schedule’s ‘critical path’ is an identification of sequential activities within a
schedule that determine minimum time required to complete the project. A delay of
any activity in the critical path will delay the project unless workarounds or other
mitigating actions are implemented to accelerate the remaining work.”
6
    Independent Monitor’s Project Schedule and Cost Evaluation for the Kemper
County IGCC Project prepared for Mississippi Public Utilities Staff (Nov. 15, 2012),
at 25.
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production report. BREI noted the following delays, which it described as “a trending

indicator of progress to come that may result in impacts on critical path.”

             Underground piping was behind the original plan by six months.

             Concrete foundations were three months behind the original plan.

             Structural steel was behind the original schedule by about three months
              “and continues to slip . . . .”

             Process piping was delayed by at least one month.7

        86.   BREI concluded that Southern Company should utilize certain “project

management and project controls tools and techniques” to better “monitor, track and

manage the logistics” for the Kemper Plant. In addition, BREI concluded that the

Kemper Plant was unlikely to be completed by the May 2014 deadline and

recommended that the Company “[c]onduct a detailed review of the August 31, 2012,

re-baselined schedule to verify and, if necessary, modify the logic, predecessors and

successors to each activity.” The 2012 report did note, however, that Mississippi

Power has maintained its “schedule and projected [completion] date of May 1, 2014”

and “has re-emphasized its commitment to complete construction, commissioning and

start-up by that date.”




7
    Id. at 24-25.
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        87.   In response to the November 2012 report, Southern Company spokesman

Tim Leljedal immediately denied that delays reported by the Independent Monitor

would negatively impact the Kemper Plant’s schedule. “[Mississippi Power] remains

confident and recently confirmed its cost and schedule projects” for the Kemper Plant,

Leljedal said.8

        88.   In April 2014, the Independent Monitor issued its second report, a

prudency evaluation. A prudency evaluation is an analysis of the decision-making

process and the activities performed during the licensing, construction, and start-up

phases of a power plant. It uses specific evaluative criteria to determine whether

construction-related decisions were reasonably made and the activities prudently

performed. In that report, the Independent Monitor observed that the gasifier delay in

2012 had adversely and “significantly” impacted the schedule:

        The late delivery of the gasifier had a significant impact on construction
        in the gasifier area of the Project. The fabrication of the gasifiers
        consisted of 12 sections on each of the two gasifiers. Major delays were
        experienced primarily due to an issue with the installation of acceptable
        refractory material. This coupled with other fabrication issues caused an
        approximate six month delay to the delivery and installation of the
        gasifiers. The delay caused major impacts to the sequence of steel
        erection as well as the setting of other major equipment in the gasifier
        building which resulted in critical delays to the project schedule. The

8
  See John Downey, Cost Overruns Remain Issue For Gasified-Coal Plants,
Charlotte Bus. J., Nov. 29, 2012.
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        construction group was forced to be creative in developing major work-
        arounds for the installation of these other critical components, causing
        additional costs, as well as, major delays to the project schedule.9

        89.   In January 2013, a full time site monitor was added to the BREI team.

BREI’s monitoring of the Kemper Plant also included approximately seven trips to

Southern Company’s offices in Birmingham, Alabama and monthly visits to the

Kemper Plant to monitor and review critical engineering, schedule and cost aspects of

the project. BREI’s review covered the period from late 2009 through March 31,

2013. BREI ultimately issued a prudency report in April 2014, which was labelled

“confidential” and did not receive media attention until November 2014.

        90.   BREI reviewed the following data and information in developing its

prudency report:

             Information gathered during the initial project due diligence review in
              2011;

             An independent review of the project schedule and project cost which it
              conducted from May through November 2012;

             BREI’s ongoing Project monitoring reviews, including site visits,
              conducted from early 2011 through March 2013;

             Responses to approximately 325 requests for information provided by
              the Company during the initial due diligence review;


9
   Independent Monitor’s Prudency Evaluation Report for the Kemper County IGCC
Project prepared for Mississippi Public Utilities Staff (Apr. 15, 2014), at 55.
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             Direct interviews of “key” Mississippi Power executives and Southern
              Company personnel in Meridian and Gulfport, Mississippi;

             Ongoing project monitoring work; and

             The prudency discovery process.

        91.   In order to conduct its prudency review, BREI’s review and evaluation

focused on the reasonableness of the Company’s actions and decisions, and included

the following guidelines:

             “[I]t was not within the scope of BREI’s review to evaluate decisions
              made by Southern Company’s senior management.”

             “The standard that BREI used for determining prudence or
              reasonableness in an action or decision consisted of the consideration of
              what a reasonable and informed manager at the appropriate level within
              a project team in the electric power industry would have done, in light of
              the conditions and circumstances which were known, or should have
              been known, at the time the decision was made or action taken.”
              (Emphasis in original.)

             “Under no circumstances did BREI evaluate actions or decisions based
              upon ‘hindsight’ in its prudence assessments and evaluations. The
              decisions/actions were judged purely upon what was known at the time
              or should have been known by the Project team at the time the decision
              was made or the action was implemented.”

             “BREI examined the major decisions/actions of [Mississippi Power] and
              [Southern Company] . . . in the execution of the Project to determine
              whether their decisions/actions fell outside of the bounds of
              reasonability.”

        92.   At the conclusion of the prudency review, the Independent Monitor also

reported that, as a result of “major issues with the installation of refractory material by

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CFI (the manufacturer of the components), CFI was forecasting a six month delay in

delivering the gasifiers.”10

        93.       According to the Independent Monitor, the actual delivery of major

equipment to the site caused “major delays” and impacted the sequencing of the

construction and installation of the equipment:

        One of the major causes of the delays was the difficulty encountered in
        delivering this major equipment (absorbers, compressors, tanks, heat
        exchangers, etc.) from the barge slip to the site due to failure to reach
        timely agreements with companies and utilities that either controlled or
        owned the restraining overhead lines in the communities between the site
        and the barge slip. These lines consisted of various power, cable, and
        telephone lines which spanned across the roadways between the barge
        slip and the site impeding the transportation of the equipment to the site.
        [Southern Company], after an exhaustive effort to coordinate the various
        entities to remove or raise the lines to allow clearance of equipment,
        designated a full time task manager, who negotiated, paid additional
        fees, attended numerous coordination sessions with each of the
        companies and utilities and eventually achieved success in coordinating
        a resolution in raising and/or removal of the impediments.11

The Independent Monitor noted that the delay in delivery of major equipment caused

broader problems, including “major delays and impacted the sequencing of the

construction and installation of the equipment.”




10
     Id. at 52.
11
     Id. at 56.
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        94.         The Independent Monitor noted that, in March 2012, as the detailed

design became further developed, Southern Company’s engineering team began to

recognize the growth in scope of the balance of the plant equipment and construction

bulk quantities (structural steel, piping, cable, instruments, etc.).12 By March 2013,

the growth of major commodities and labor required to build the Kemper Plant had

increased dramatically, as shown in the charts below:

                                Unit of    Certification      Forecast as of
               Commodity       Measure      Quantity           March 2013      variance
            Concrete        Cubic Yards             50,181             106,960     113%
            Steel           Tons                    28,168              37,810      34%
            Plant Piping    Linear Feet            605,946             855,957      41%
            Cable           Linear Feet          3,218,675         11,860,997      269%

                               Unit of      Certification     Forecast as of
                              Measure        Quantity          March 2013     variance
            Labor           Man-hours             5,140,288        10,515,176     105%

Remarkably, observed the Independent Monitor, “[a]ll of the above increased

quantities and man-hours were being added without a change to the COD of the

facility, which remained at May 2014 as of March 2013.”13

        95.         This large increase of commodities and installation labor hours created

severe labor congestion which is sometimes referred to as a “stacking of trades” in



12
     Id. at 49.
13
     Id. at 54.
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tight areas of the plant. The Independent Monitor noted that “[t]his stacking of trades

negatively impacted labor productivity”:14

        The additional commodities and the late delivery of components and
        equipment, coupled with the COD remaining constant, has caused major
        congestion of workers in specific work areas resulting in poor
        performance, low worker productivity and excessive down time. The
        Project experienced up to 10% to 12% absenteeism for the skilled crafts,
        while the industry average is in the 3% to 5% range.15

        96.       Piping problems, the Independent Monitor found, continued to plague the

Kemper Plant, causing additional delays:

        The late delivery of the pipe, valves, pipe supports, and pipe hangers
        created major impacts in the sequence of the steel erection in all
        buildings of the facility, creating additional man-hours to perform the
        required work-arounds needed to accomplish the piping installations.
        The work-arounds also required the workers to “drift” or “swing” piping
        into place on a given elevation of a building after the steel has been
        erected as opposed to installing the piping as the steel is initially erected.
        This required additional man-hours for implementation.16

The delay of available piping to be installed in accordance with the schedule “caused

a rippling effect in the succeeding activities in procurement, fabrication, construction,

and the startup phases, thus creating the field work-arounds and some additional loss

of schedule time.” The Independent Monitor concluded that the “late delivery of pipe

14
     Id. at 11.
15
     Id. at 56.
16
     Id. at 55.
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hangers and supports, required to complete piping installation, have become a critical

path issue in completing the piping installation.”

        97.       In the prudency report, the Independent Monitor also observed instances

in which workers at the Kemper Plant used “temporary lashing and cables” to support

the pipes. “This caused inefficiencies resulting in additional man-hours expended,

first to utilize temporary supports, and then to remove the temporary supports in order

to install the permanent supports.”

        98.       The Independent Monitor identified material engineering schedule delays

as set forth below.




        99.       The Independent Monitor also recognized that “many engineering

activities and vendor design documents that are required in support of engineering

completion were on the critical path.” This was important to the COD because

“delayed, activities that are on the schedule’s critical path impact other successive

critical path activities, causing a direct impact on the project’s completion date.”17



17
     Id. at 48.
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        100. In its prudency evaluation, the Independent Monitor noted that the plant

was 58% complete as of March 2013.           In addition, the Independent Monitor

determined the percentage completion of mechanical equipment installation as of

March 2013, as shown below:

                        Area of the Plant         % Complete
                       Combined Cycle area           72%
                          Gasifier Area              56%
                          Gas Cleanup                54%
The Independent Monitor also determined the progress of above-ground commodity

installation as of March 2013, as shown below:

                  Commodity          Installed   Total Forecast % Complete
            Concrete (cubic yards)    100,000           107,000    93%
            Cable (linear feet)          1.5M            11.8M     13%
            Piping (linear feet)      150,000           720,000    20%
            Steel (tons)               29,000            38,000    76%
        101. “Float” is a contingency or cushion which is added to the duration of

individual activities to account for unknowns and delays that may occur when

completing an activity. It is common industry practice to employ schedule float,

especially when the project is challenging. Although the Kemper Project was widely

accepted to be a challenging project, Black and Veatch (“B&V”) – another consultant

hired by the PSC and relied on by the Independent Monitor – “observed that an

overall schedule margin or float had not been included in the project schedule. The

schedule was noted by B&V to be tight and, without overall margin or contingency,

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the Project would be susceptible to unplanned or unexpected schedule events.”

Despite this lack of float, “the Project team was aware that the project start date had

slipped by six months while the COD had not.”18

        102. The Independent Monitor concluded that Southern Company “should

have recognized that there was little margin for error or delay with respect to meeting

the May 2014 COD. However, as early as October 2010, [Southern Company] had

twice set targets for awarding equipment procurement packages and twice failed to

meet those targets. This trend of late procurements continued through 2011 and in to

2012.”19

        103. Further, the Independent Monitor determined that “trending of historical

data for quantity growth at Kemper (specifically in structural steel and concrete)

starting in September 2011, and the slower than planned progress in engineering

(including piping releases for fabrication), should have alerted the Project Team to the

probability for schedule delays and cost overruns much earlier.”20



18
   Independent Monitor’s Prudency Evaluation Report for the Kemper County IGCC
Project prepared for Mississippi Public Utilities Staff at 31, 42.
19
   Independent Monitor’s Surrebuttal Testimony before the Mississippi Public
Service Commission, MPSC Docket No. 2013-UA-189 (July 21, 2014), at 36.
20
     Id. at 41.
                                         - 63 -
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        104. According to the Independent Monitor, the 2014 prudency report was

“filed confidentially” with the PSC in April 2014. In November 2014, the first news

of the 2014 prudency report broke. In response, the Company “vigorously denied the

veracity of the report” and related testimony:21

        “Mississippi Power does not agree with many of the accusations
        contained in the Burns and Roe surrebuttal testimony,” Mississippi
        Power spokesman Jeff Shepard said in an email. “Mississippi Power has
        not been asked to respond to this testimony. The company is reviewing
        the allegations and will address them at the appropriate time. Mississippi
        Power will continue working with the independent monitors hired by the
        PSC and the Public Utilities Staff.”

        E.    The Pegasus Report
        105. In response to the Independent Monitor, Mississippi Power hired Pegasus

Global Holdings, Inc. (“Pegasus”) to conduct its own prudency evaluation in order to

rebut the Independent Monitor’s conclusions.

        106. On May 23, 2014, Pegasus filed its prudency report (“Pegasus Report”)

with the PSC. According to Pegasus,

        Pegasus-Global conducted an independent prudence audit and evaluation
        of whether the costs incurred for the Kemper IGCC Project (or
        “Project”) were reasonably and prudently incurred. Pegasus-Global’s
        prudence audit and evaluation focused on the management processes
        employed by [Mississippi Power] to make decisions and compared them

21
   See Steve Wilson, Report on Kemper Project Casts Embattled Power Plant in
Poor Light, Mississippi Watchdog, Nov. 5, 2014 (available at
http://watchdog.org/181052/kemper-project-4/).
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        to generally accepted prudence standards for decision-making processes.
        This evaluation considered whether [Mississippi Power] management
        had an appropriate decision-making structure and processes in place to
        ensure that MPC management made informed decisions based on
        information reasonably available to or known at the time management
        made the decisions. The evaluation also considered whether [Mississippi
        Power] management reasonably and prudently implemented its
        decisions.

According to Pegasus, its work was governed by the following prudence standard:

“Decisions are prudent if made in a reasonable manner in light of conditions and

circumstances which were known or reasonably should have been known when the

decision was made.”

        107. In conducting its prudency review, Pegasus stated it had access to

“sufficient project documentation to reasonably ensure that the conclusions reached

are supported by the facts.” As the Company’s own consultant, Pegasus stated it

reviewed “thousands” of internal documents, including internal meeting minutes, cost

estimates and reforecasts, purchase orders, change orders, project schedules, monthly

progress reports and project execution plans. According to Pegasus, “[b]y reviewing a

vast number of documents, Pegasus-Global was able to capture the flow of

information from a broad spectrum of Project and utility industry information to

produce a significantly more comprehensive prudence analysis upon which to present

testimony.” In addition to a comprehensive review of internal documents, Pegasus


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stated that it also interviewed “several key members” of the Kemper Plant

management, including Defendants Day, Anderson, and Huggins, Ashley Baker, Dave

Empfield, Joe Miller, Steve Owen, Randall Rush, Babar Suleman and Brett Wingard.

Finally Pegasus stated that it toured the Kemper Plant “to gain a full understanding of

the scope of the Project and its complexity.”

        108. Unsurprisingly, Pegasus concluded that the decisions made by

Mississippi Power were at all times reasonable and prudent:

        Based upon Pegasus-Global’s independent prudence review, which
        included an evaluation [Mississippi Power] management decisions and
        decision-making processes regarding the costs incurred on the Kemper
        IGCC Project through March 31, 2013, and in response to the allegations
        of imprudence made by the Sierra Club, Staff and [Mississippi Power]
        witnesses, Pegasus-Global has concluded that [Mississippi Power’s]
        management decisions as to the Kemper IGCC Project were reasonable
        and prudent. Generally, [Mississippi Power] made rational, deliberate
        and prudent decisions based on established processes. [Mississippi
        Power] used its processes to collect the best information available at the
        time; evaluated that information in light of the circumstances at the time;
        identified viable alternatives or options; and made reasonable decisions.
        There were, in my opinion, no imprudent decisions . . . .

        109. Despite its finding that Mississippi Power acted prudently, the underlying

facts found by Pegasus corroborate certain evidence provided by Wingo, the

Independent Monitor, The New York Times and the CWs, and establish the falsity of

Defendants’ statements.       For example, Pegasus found that “[d]uring the high

temperature curing process of the refractory in the first gasifier components, the
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refractory began failing . . . . The gasifier component contract delivery dates were

from April 2012 through September 2012. However, the actual delivery dates ranged

from August 2012 through January 2013.” Pegasus continued: “The first piece was

delivered to the site September 9, 2012, approximately five months later than the

contract schedule specified.” These delays caused the schedule for the first gasifier

heat-up, a key milestone, to be pushed back over two months in August 2012.

        110. According to Pegasus, “[t]he delay in the gasifier was one of several

things causing construction delays at the plant [during 2012]” and “[t]he late delivery

of some gasifier components did impact gasifier steel erection.” Significantly, by

August 2012, the schedule for several key milestones, including first gasifier heat-up,

had to be pushed back several months “to account for new quantity projections of the

major commodities and the impact late material deliveries were having on the

Project.”

VI.     DEFENDANTS’ MATERIALLY FALSE AND MISLEADING
        STATEMENTS AND OMISSIONS DURING THE CLASS
        PERIOD
        111. On April 24, 2012, the PSC voted to re-certify the construction of the

Kemper Plant. The PSC’s certification was based on Defendants’ representations to

the PSC and investors that the Kemper Plant would meet its original construction



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budget of $2.395 billion and would be placed into service no later than May 1, 2014

(the COD).

        112. On April 25, 2012, the first day of the Class Period, Southern Company

announced its first quarter 2012 financial results and held a conference call for

analysts, media representatives and investors. On the call, Defendant Fanning

confirmed that the start-up phase of the Kemper Plant would begin in June 2013.

Fanning also confirmed the May 2014 COD. Specifically, Fanning stated:

        [Kemper Plant] initial startup and testing are now only 14 months
        away. And we remain confident that this project will provide the best
        value to customers over the long term. Targets remain achievable for
        . . . the . . . Kemper County project[] with regard to construction
        schedule and cost to customers.

        113. On May 7, 2012, Southern Company filed its consolidated Form 10-Q for

the first quarter of 2012. The Form 10-Q stated: “The Kemper IGCC plant, expected

to begin commercial operation in May 2014, will use locally mined lignite (an

abundant, lower heating value coal) from a mine adjacent to the plant as fuel.”

        114. Defendants Fanning, Beattie and Day signed the consolidated Form 10-Q

containing this statement. In addition, Defendants Fanning, Beattie and Day signed

Certifications pursuant to Sarbanes Oxley in which Defendants attested that the report

containing this statement “does not contain any untrue statement of material fact or

omit to state a material necessary to make the statements made, in light of the
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circumstances under which such statements were made, not misleading with respect to

the period covered by this report.” Defendants Fanning, Beattie and Day also attested

that they had designed disclosure controls to ensure that material information relating

to the Company was made known to them.

        115. Defendants knew or recklessly disregarded that the statements set forth in

¶¶112-114 were false and misleading or omitted material information necessary to

make them not misleading for the following reasons:

              (a)    The Kemper Plant was not “on schedule” due to major delays in

the installation of the gasifier, the most critical and complex part of the project. See

§V., supra. For example:

             Wingo, who worked as a Project Manager over the gasifier island, stated:
              “In 2012, we had major refractory failure issues at our fabricator. . . .
              The problem was it took a lot of time. And we lost somewhere between
              three and six months on the overall schedule . . . .” See ¶¶56-72.

             The Independent Monitor explained: “The late delivery of the gasifier
              had crippling effects in the gasifier area of the Project. . . . [T]rends in
              quantity growth and in the early phases of construction costs were
              clearly identified as early as September 2011 at the time that the initial
              baseline schedule was completed.” Major delays were experienced
              primarily due to an issue with the installation of acceptable refractory
              material. This coupled with other gasifier fabrication issues caused an
              approximate six month delay to the delivery and installation of the
              gasifiers, causing major impacts to the sequence of steel erection as well
              as the setting of other major equipment in the gasifier building resulting
              in critical delays to the project schedule. See ¶¶79-104.

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             The Company’s consultant, Pegasus, acknowledged: “During the high
              temperature curing process of the refractory in the first gasifier
              components, the refractory began failing. . . . The gasifier component
              contract delivery dates were [initially scheduled] from April 2012
              through September 2012. However, the actual delivery dates ranged
              from August 2012 through January 2013.” See ¶¶105-110.

             Pegasus also determined: “The late delivery of some gasifier components
              [] impact[ed] gasifier steel erection” [during 2012].” See ¶¶105-110.

              (b)   The Kemper Plant was not “on schedule” as a result of several key

engineering schedule delays that began in early 2012. For example, the Independent

Monitor noted that: “The baseline schedule called for engineering to be complete

between February and November 2012. Actual completion was between July 2012

and March 2013, a delay ranging from four to fourteen months, with the most

significant delays in the mechanical engineering area.” See ¶¶79-104; see also §V.,

supra. The following chart depicts the engineering delays that existed in early 2012:

  Engineering Discipline      Planned Completion      Actual Completion        Delay
      Civil/Structural           February 2012             Fall 2012         6 months
        Mechanical               December 2011           January 2013        14 months

              (c)   The Kemper Plant was not “on schedule” as a result of significant

construction delays tied to piping, pipe hangers and other major commodities (steel,

concrete, cable, etc.). See §V., supra. For example:

             The Independent Monitor noted that piping problems caused major
              delays to the project schedule: “The late delivery of the pipe, valves, pipe
              supports, and especially pipe hangers created major impacts in the

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              sequence of the steel erection in all buildings of the facility . . . .” See
              ¶¶79-104.

             The delay of available piping to be installed in accordance with the
              schedule, the Independent Monitor also noted, “caused a rippling effect
              in the succeeding activities in procurement, fabrication, construction,
              and the startup phases.” See ¶¶79-104.

             Wingo described the piping issue as a visible sign that the schedule was
              off track during 2012. Specifically, Wingo recounted:

                    Well right off the bat, the first thing people noticed was that
                    a lot of the pipe that we were hanging, when you build a
                    multiple story structure and you run pipe through it at
                    different levels, you have to support it, you don’t just lay it
                    on the ground. It is usually over your head. So it has to be
                    supported by something called a pipe hanger. We saw pipe
                    in the gasifier structure that was being held up by cables
                    and ropes, I mean it was not a good look and when you talk
                    to construction about what was going on, which you didn’t
                    have to talk to them, they were actively complaining, they
                    said they weren’t getting enough pipe or pipe hangers to
                    build the plant. This was happening in 2012, so that was
                    the first visible sign of something at the site. See ¶62.

             The Independent Monitor found that in March 2012, as the detailed
              design became further developed, Southern Company engineering began
              to recognize the growth in scope of the construction bulk quantities
              (structural steel, piping, cable, instruments, etc.). See ¶¶79-104.

              (d)   In addition to the specific construction delays detailed above,

further evidence that the Kemper Plant was not “on schedule” included:

             CW-3 learned that there were scheduling delays at some point before
              August 2012. See ¶76.


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             CW-2 said that it was clear that the May 2014 COD would not be
              possible to achieve. According to CW-2, this concern was widely
              acknowledged and regularly discussed by employees at the Kemper
              Plant with whom CW-2 spoke. In addition, CW-2 said that Kemper
              employees were warned not to discuss the scheduling delay at the
              Kemper Plant with any outsiders, such as members of the press. See
              ¶75.

             CW-5 stated that various construction delays were discussed at weekly
              onsite meetings where contractors discussed construction schedules for
              the sections of the plant on which they were working. CW-5 also stated
              that most of the suppliers were behind schedule in delivering product to
              The Kemper Plant. See ¶78.

             The Company’s consultant, Pegasus, also noted: “the delay in the
              gasifier was one of several things causing construction delays at the
              plant [during 2012].” See ¶¶105-110.

              (e)    The May 2014 COD was impossible to achieve due to major

delays in the installation of the gasifier – the most critical and complex part of the

project – described at ¶115(a), above. These delays directly impacted the May 2014

COD. See §V., supra. For example:

             Wingo stated: “[W]e were told that in the gasifier area, particularly in the
              gasifier structure, where the gasifier is installed . . . we were told that in
              late 2011, that we had no time to lose on that because every day we lost
              in that particular area of the plant, we would lose on the back end of our
              schedule. In other words, we would miss our May 1, 2014 COD date.
              Well in 2012 we had major refractory failure issues at our fabricator. . . .
              And we lost somewhere between three and six months on the overall
              schedule and yet even through 2012 when we had a three to six month
              delay on the gasifier, we did not report a slip in our May 1, 2014 COD.



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              That’s when I was pretty certain that we had something terribly wrong
              with our scheduling.” See ¶59.22

             The gasifier was essential to the schedule’s “critical path.” As the
              Independent Monitor explained, “when delayed, activities that are on the
              schedule’s critical path impact other successive critical path activities,
              causing a direct impact on the project’s completion date.” See ¶¶79-
              104.

              (f)   The May 2014 COD was impossible to achieve given significant

construction delays tied to piping, pipe hangers and other major commodities (steel,

concrete, cable, etc.) as described at ¶115(a), above. These delays directly impacted

the May 2014 COD. See also §V., supra. For example, according to Wingo, piping

problems, in particular, during 2012 rendered the May 2014 COD unrealistic.23

              (g)   In addition to the evidence of specific delays detailed above, CW-

2’s account provides additional evidence that the May 2014 COD was impossible to

achieve. Based on discussions with Dave Empfield, who CW-2 supported, Empfield

did not think the May 2014 completion deadline would be possible to achieve. In



22
   As described at ¶¶45-47, as of June 12, 2017, the Kemper Plant has still not
achieved COD. Southern Company has blamed the continuing delays, in large part,
on problems in the gasifier area.
23
    After the Class Period, Defendant Holland admitted that the piping was visibly
incomplete as late as April 2015: “If you had gone [to the Kemper site] in [February-
April 2015] and stood up in the top of the facility and looked down, you would have
seen pipe and other equipment out in the laydown yards. Go up there today, and it’s
virtually cleared – all that’s been installed.”
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addition, employees at the Kemper Plant with whom CW-2 spoke widely

acknowledged and regularly discussed the inability to achieve the May 2014 COD.

                      (h)        As a result of the numerous schedule and construction delays

described at ¶115(a)-(d) above, Defendants were forced to artificially manipulate the

schedule to maintain the May 2014 COD. For example,

                     Wingo stated that when faced with clear evidence of scheduling delays,
                      senior managers simply instructed schedulers to “break logic ties in order
                      to keep the [May 2014] completion date.” See ¶¶56-72. As depicted
                      below, this involved artificially collapsing the schedule so that various
                      construction activities were scheduled to occur at the same time rather
                      than normally sequencing construction activities so that one activity
                      would follow another activity. By improperly collapsing the schedule,
                      Defendants concealed the construction delays and maintained the May
                      2014 COD. See ¶¶56-72.
            Original Schedule Including Logic Ties

               construction                 construction                    construction               construction
                activity A                   activity B                      activity C                 activity D    COD




            Revised Schedule With Broken Logic Ties to Conceal Delays and Artificially Maintain COD

             construction                                      construction
                                     (delayed)                                             (delayed)
             activity A                                        activity C

                                  construction
                                  activity B
                                                           (delayed)                                                  COD
                                                                       construction
                                                                                                        (delayed)
                                                                       activity D



                     The need to manipulate the schedule was due, in large part, to the fact
                      that the schedule had no “float” or contingency to account for
                      unexpected delays. See ¶¶79-104. Thus, any significant schedule delay
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              would have necessarily bumped the end date of the schedule beyond the
              May 2014 COD. In the absence of adequate float, Defendants
              improperly broke logic ties in order to maintain the May 2014 COD.

             As Wingo observed, “[t]hey threw together these half-assed schedules
              that made no sense that you couldn’t use as a project management tool.
              If you took Kemper and put it on a real schedule and then you asked
              people that were actually responsible for executing their part of the
              schedule for input, to see if we can keep our promises, that schedule
              would have blown way out to 2015, possibly beyond. In 2012, we had a
              purposely broken project schedule that was designed to confuse
              everybody.” See ¶¶56-72.

             This schedule manipulation also included taking more and more time out
              of the “start-up and commissioning” phase of the schedule (which was
              scheduled to occur after construction was completed) in order to
              maintain the May 2014 COD date. This resulted in an unrealistic
              schedule timeframe for the start-up and commissioning phase. For
              example, although Defendants allotted just five months to get from first
              syngas combustion (a key milestone) to COD, the Gasification
              Technologies Group understood that this phase would take a minimum
              of one year to accomplish. See ¶¶56-72.24



24
   The plant remains in start-up phase as of June 2017, more than three years after the
scheduled May 2014 COD date. Defendants have now admitted that they fully
anticipated that start-up and commissioning would take at least a year: “[The
construction of the plant is almost 100% complete, but] still needs about a year of
tinkering and testing to ensure it can operate safely, reliably and efficiently. ‘You
don’t build any plant and you just turn it on and it works,’ said Tim Pinkston, a
Southern Company veteran who has worked for more than a decade developing the
specific brand of carbon-capture technology being deployed at Kemper. ‘There’s
always things you have to adjust on.’” Darren Samuelsohn, Billions Over Budget.
Two Years After Deadline. What’s Gone Wrong for the “Clean Coal” Project that’s
Supposed to Save an Industry, Politico, May 26, 2015 (available at
http://www.politico.com/agenda/story/2015/05/billion-dollar-kemper-clean-coal-
energy-project-000015).
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        116. On May 15, 2012, Defendant Beattie presented at the Deutsche Bank

Clean Tech, Utilities and Power Conference. At the conference, Defendant Beattie

stated:

        [P]rogress [at the Kemper Plant] is being made. We’ll have first gas to
        the CT, combustion turbines, in June of next year. We’ll have the first
        heat to the gasifier in October of next year and the first [syn]gas to the
        combustion turbines in December of next year. So this plant is well on
        its way. We’re about . . . 72% of its costs are confirmed at this point.
        90% of costs will be confirmed by the end of this year – so good
        progress at Kemper County.

        117. On June 8, 2012, Southern Company issued a news release providing an

update regarding the Kemper Project. That release stated: “[T]he Kemper Plant

construction is progressing on schedule and continues to be the best generation

option for customers. The plant will be on line May 2014 . . . .”

        118. Also on June 8, 2012, Mississippi Power filed its Kemper Monthly Status

and Cost Report with the PSC. The report stated: “Overall Project Status: Project is

on schedule.”

        119. On August 3, 2012, Mississippi Power filed its Kemper Monthly Status

and Cost Report with the PSC. The report stated: “Overall Project Status: Project is

on schedule.”

        120. On August 6, 2012, Southern Company filed its consolidated Form 10-Q

for the second quarter of 2012. The Form 10-Q included the following information
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regarding the Kemper Plant: “The Kemper IGCC, expected to begin commercial

operation in May 2014, will use locally mined lignite (an abundant, lower heating

value coal) from a mine adjacent to the Kemper IGCC as fuel.”

        121. Defendants Fanning, Beattie and Day signed the consolidated Form 10-Q

containing this statement. In addition, Defendants Fanning, Beattie and Day signed

Certifications pursuant to Sarbanes Oxley in which Defendants attested that the report

containing this statement “does not contain any untrue statement of material fact or

omit to state a material necessary to make the statements made, in light of the

circumstances under which such statements were made, not misleading with respect to

the period covered by this report.” Defendants Fanning, Beattie and Day also attested

that they had designed disclosure controls to ensure that material information relating

to the Company was made known to them.

        122. On August 9, 2012, Southern Company issued a news release that stated:

“With commercial operation of its Kemper County integrated gasification combined

cycle plant less than two years away, Mississippi Power is well-positioned to execute

the most critical next steps in the peak construction phase beginning later this year.”

        123. On September 13, 2012, Southern Company issued a news release that

stated:


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        Recently, Mississippi Power safely completed a major construction
        milestone at its Kemper County energy facility as plant construction
        nears the halfway mark. Installed was a section of the plant’s gasifier
        ....

        “Installation of the gasifier marks a pivotal point in the construction
        phase of our project and the advancement of 21st century coal
        technology,” said Mississippi Power Vice President of Generation
        Development Tommy Anderson. . . .

                                    *      *      *
        Commercial operation of the 582-megawatt facility is expected to
        begin May 2014.

        124. Defendants knew or recklessly disregarded that the statements set forth in

¶¶116-123 were false and misleading or omitted material information necessary to

make them not misleading for the following reasons:

              (a)    The Kemper Plant was not “on schedule” due to major delays in

the installation of the gasifier, the most critical and complex part of the project. See

¶115(a), supra. The gasifier delays from early 2012 described above continued to

adversely impact the schedule through the end of the Class Period. For instance,

during the first half of 2012, while the refractory problem was still being investigated,

“no gasifier components were delivered to the site.” As a result, “the first piece was

delivered to the site September 9, 2012, approximately five months later than the

contract schedule specified.” Delivery of the gasifier components were originally

scheduled to be completed in September 2012, however, due to the refractory
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problems, the actual delivery dates were pushed out to January 2013. See ¶¶105-110.

Wingo compared the refractory failure to stopping traffic on five lanes of a six-lane

highway. In other words, very little progress on the gasifier could be made while the

gasifier refractory problem was being fixed. See ¶¶56-72.

              (b)   The Kemper Plant was not “on schedule” due to several key

engineering schedule delays that began in early 2012 and continued through early

2013, as described in ¶115(b), above.

              (c)   The Kemper Plant was not “on schedule” as a result of significant

construction delays tied to piping, pipe hangers and other major commodities (steel,

concrete, cable, etc.), as described in ¶115(c), above. These delays continued to

plague the Kemper Plant throughout the Class Period. For example, by August 2012,

“new quantity projections of the major commodities and the impact late material

deliveries were having on the Project” caused the schedule for several Key Project

Critical Milestones, including “first gasifier heat-up” and “reliable syngas to

combustion turbines,” to be pushed back several months. See ¶¶105-110.

              (d)   In addition to the specific delays detailed ¶124(a)-(c), above, the

Kemper Plant was not “on schedule” for the reasons set forth in ¶115(d), above.

              (e)   The May 2014 COD was impossible to achieve due to major

delays in the installation of the gasifier, the most critical and complex part of the
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project, described at ¶¶115(a), 124(a), above. These delays directly impacted the May

2014 COD as described at ¶115(e), above.

              (f)   The May 2014 COD was impossible to achieve in light of

significant construction delays tied to piping, pipe hangers and other major

commodities (steel, concrete, cable , etc.), as described at ¶¶115(c), 124(c), above.

These delays directly impacted the May 2014 COD as described at ¶115(f), above.

              (g)   In addition to the evidence of specific delays detailed in ¶124(e)-

(f), above, additional evidence that the Kemper Plant’s May 2014 COD was

impossible to achieve included the evidence described at ¶115(g), above. Further,

during 2012, the Company was aware the schedule was slipping: “The company has

consistently shown a completion date later than the current baseline date of May 1,

2014, in their summary analysis during the monitor’s monthly meetings. A July 17,

2014, commercial operation date (77 days or 2½ months late) was reported at the July

23, 2012, monthly monitor’s meeting.” See Independent Monitor’s Project Schedule

and Cost Evaluation for the Kemper County IGCC Project prepared for the

Mississippi Public Utilities Staff (Nov. 15, 2012) at 24.25




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   As described below at ¶132, on November 29, 2012, Defendants denied the
findings of the Monitor’s Report and maintained the May 2014 COD date.
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               (h)   As a result of the numerous schedule and construction delays

described at ¶¶115(a)-(d), 124(a)-(d), above, Defendants were forced to artificially

manipulate the schedule to maintain the May 2014 COD, as described at ¶115(h). For

example, this schedule manipulation occurred in August 2012, when Defendants were

forced to delay the schedule for several “Key Project Critical Milestones,” including

“first gasifier heat-up” and “reliable syngas to combustion turbines,” “to account for

new quantity projections of the major commodities and the impact late material

deliveries were having on the Project.” See ¶¶105-110. Despite the several month

delay to at least five “Key Project Critical Milestones” in August 2012, the May 2014

COD did not move a single day. This manipulation involved improperly collapsing

the schedule by taking even more time out of the start-up phase. For example, a key

milestone, “reliable syngas to combustion turbines,” was pushed back to February 6,

2014. This left only three months between this milestone and COD. According to

Wingo, the Gasification Technologies Group understood that it would take a

minimum of one year to get from the first syngas production to the completion date.

See ¶¶56-72.

               (i)   The Kemper Plant construction was not “near[] the halfway mark,”

as the Company falsely reported. According to the Independent Monitor, “[d]uring

the monthly independent monitor’s meeting held on September 13, 2012 (reflecting
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data through July 31, 2012), [Southern Company Services] reported that the project

had achieved . . . a construction completion of 30%.” See ¶¶79-104.

              (j)   Defendant Beattie’s statement that “first [syn]gas to the

combustion turbines” would be achieved by December 2013 was materially false and

misleading because Beattie concealed significant, contemporaneous gasifier problems

and delays, as described above at ¶¶115(a), 124(a), above.26

              (k)   Defendants’ statements describing the progress of the gasifier,

including characterizing the installation of “a section of the plant’s gasifier” in

September 2012 as a “major milestone” were false and misleading because

Defendants concealed the significant gasifier delays, as described in ¶¶115(a), 124(a),

above. In fact, the first piece of the gasifier was delivered five months late, which

Defendants failed to disclose.

        125. On October 5, 2012, Mississippi Power filed its Kemper Monthly Status

and Cost Report with the PSC. The report stated: “Project is on schedule.”

        126. On October 19, 2012, Southern Company issued a news release with the

headline “Mississippi Power files updated assumptions on Kemper project, confirms

costs and schedule remain on target.” The news release stated:
26
   In fact, syngas to the combustion turbine was not achieved until November 17,
2016, almost three years after Beattie falsely represented it would be accomplished.
See November 2016 Kemper Monthly Status and Cost Report filed with the PSC.
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        As part of its ongoing review process for the Kemper County energy
        facility project, Mississippi Power filed updated assumptions to both cost
        and schedule in its monthly construction report to the Mississippi Public
        Service Commission. The company confirmed that the project is on
        schedule to be completed in May 2014 and that cost projections remain
        on target to stay at or below $2.88 billion. . . .

        Overall, the project is more than 70 percent complete. The plant is
        scheduled to begin initial start-up next summer and commercial
        operation in 18 months.

        “With engineering and procurement nearing completion, construction
        progressing on schedule and key startup milestones approaching
        quickly, Mississippi Power’s projections are that cost and schedule
        targets are achievable,” said Tommy Anderson, vice president of
        generation development for Mississippi Power.

        127. On November 5, 2012, Southern Company announced its third quarter

2012 financial results and held a conference call for analysts, media representatives

and investors during which Defendants represented that the Kemper Plant was on

schedule. Specifically, Defendant Fanning stated:

              At Plant Ratcliffe in Kemper County, Mississippi, construction
        remains on schedule to begin commercial operation in May of 2014.
        Cost projections remain on target to finish at or below $2.88 billion. We
        continue to actively manage ongoing pressures on costs and schedule
        which are typical for a project of this scale. Installation of the gasifiers
        and assembly is proceeding exceptionally well and the carbon dioxide
        absorbers are all in place.

                                      *      *      *
        Art [Beattie] and I met recently with Moses Feagin, he’s the CFO of
        Mississippi Power; Ed Day; their regulatory people. We meet regularly
        on this project.

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        128. On November 7, 2012, Southern Company filed its consolidated Form

10-Q for the third quarter of 2012.       The Form 10-Q included the following

information regarding the Kemper Plant: “The Kemper IGCC, expected to be in

service in May 2014, will use locally mined lignite (an abundant, lower heating value

coal) from a mine adjacent to the Kemper IGCC as fuel.”

        129. Defendants Fanning, Beattie and Day signed the consolidated Form 10-Q

containing this statement. In addition, Defendants Fanning, Beattie and Day signed

Certifications pursuant to Sarbanes Oxley in which Defendants attested that the report

containing this statement “does not contain any untrue statement of material fact or

omit to state a material necessary to make the statements made, in light of the

circumstances under which such statements were made, not misleading with respect to

the period covered by this report.” Defendants Fanning, Beattie and Day also attested

that they had designed disclosure controls to ensure that material information relating

to the Company was made known to them.

        130. On November 13, 2012, Southern Company issued a news release with

the headline: “Mississippi Power’s Kemper County energy facility achieves major

milestones toward completion.” The news release stated:

        With the project now more than 70 percent complete, Mississippi
        Power’s Kemper County energy facility has achieved several major
        milestones in recent weeks.
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                                     *     *      *

        “These milestones are indicators of the tremendous progress being made
        every day to deliver 21st century coal technology to our customers,” said
        Tommy Anderson, vice president of generation development at
        Mississippi Power.

        131. Defendants knew or recklessly disregarded that the statements set forth in

¶¶125-130 were false and misleading or omitted material information necessary to

make them not misleading for the following reasons:

              (a)    The Kemper Plant was not “progressing on schedule” and was not

“more than 70 percent complete” as a result of major delays in the installation of the

gasifier, the most critical and complex part of the project, as described at ¶¶115(a),

124(a), above. The gasifier delays from early 2012 described above continued to

adversely impact the schedule through the end of the Class Period. For example, the

refractory problems caused the schedule for the first gasifier heat-up – a key milestone

– to fall “2-3 months behind schedule” as of November 2012. See Independent

Monitor’s Project Schedule and Cost Evaluation for the Kemper County IGCC Project

prepared for the Mississippi Public Utilities Staff (Nov. 15, 2012) at 24.

              (b)    The Kemper Plant was not “progressing on schedule” and was not

“more than 70 percent complete” due to several key engineering schedule delays that

began in early 2012 and continued through early 2013, as described in ¶115(b), above.


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By November 2012, the engineering delays had snowballed as depicted in the chart

below:

  Engineering Discipline         Planned Completion   Actual Completion      Delay
Process                             December 2012          April 2013      4 months
Civil/Structural Architectural      February 2012          Fall 2012       6 months
Mechanical                          December 2011        January 2013      14 months
Electrical                          November 2012         March 2013        4 months
Instrumentation and Control         November 2012         March 2013       4 months

               (c)     The Kemper Plant was not “progressing on schedule” and was not

“more than 70 percent complete” as a result of significant construction delays tied to

piping, pipe hangers and other major commodities (steel, concrete, cable, etc.), as

described in ¶¶115(c), 124(c), above. These delays continued to plague the Kemper

Plant. As of November 2012, the Company’s project commodity charts showed

additional delays, including: (i) underground piping was behind the original plan by

six months; (ii) concrete foundations were three months behind the original plan; (iii)

structural steel was behind the original schedule by about three months and continued

to slip; and (iv) process piping showed at least a one month delay. See ¶¶79-104.

               (d)     The Kemper Plant was not “progressing on schedule” and was not

“more than 70 percent complete” due to massive increases in the amount of labor

required to complete the plant, which led to delays and inefficiencies. For example:

              Throughout 2012, the forecasted labor required to build the Kemper
               Plant had increased dramatically. By March 2013, the forecasted labor
               had more than doubled as shown in the chart below:
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                                  Unit of       Certification     Forecast as of
                                 Measure         Quantity          March 2013     variance
              Labor            Man-hours              5,140,288        10,515,176     105%

              See ¶¶79-104.
             This large increase of installation labor hours created severe labor
              congestion which is sometimes referred to as a “stacking of trades” in
              tight areas of the plant. The “stacking of trades negatively impacted
              labor productivity.” See ¶¶79-104.

             This resulted in inefficiencies because “people were working on top of
              each other.” See ¶78.

              (e)     In addition to the specific delays detailed at ¶131(a)-(d), above, the

Kemper Plant was not “progressing on schedule” and was not “more than 70 percent

complete” for the reasons set forth in ¶115(d), above. Further, as of November 2012,

the Independent Monitor noted that the Kemper Plant was “nearly three months

behind schedule.” See ¶¶79-104.

              (f)     The May 2014 COD was impossible to achieve due to major

delays in the installation of the gasifier, the most critical and complex part of the

project, described at ¶¶115(a), 124(a), 131(a), above. These delays directly impacted

the May 2014 COD as described at ¶115(e), above.

              (g)     The May 2014 COD was impossible to achieve in light of

significant construction delays tied to piping, pipe hangers and other major

commodities (steel, concrete, cable , etc.), as described at ¶¶115(c), 124(c), 131(c),

above. These delays directly impacted the May 2014 COD as described at ¶115(f)
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above. Further, according to Wingo, at the end of 2012, a senior scheduler reviewed

piping quantities and concluded there was no way the project could be completed by

the end of 2014 (much less by the May 2014 COD deadline). See ¶¶56-72.

              (h)   In addition to the evidence of specific delays detailed in ¶131(f)-

(g), above, additional evidence that the Kemper Plant’s May 2014 COD was

impossible to achieve included the evidence described at ¶¶115(g), 124(g) above.

Further, the Independent Monitor concluded in November 2012 that, due to the

numerous construction delays, the most likely completion date was December 20,

2014. See Independent Monitor’s Project Schedule and Cost Evaluation for the

Kemper County IGCC Project prepared for the Mississippi Public Utilities Staff (Nov.

15, 2012) at 5.

              (i)   As a result of the numerous schedule and construction delays

described at ¶¶115(a)-(d), 124(a)-(d), 131(a)-(e), above, Defendants were forced to

artificially manipulate the schedule to maintain the May 2014 COD, as described at

¶¶115(h), 124(h).

              (j)   Defendant Fanning’s statement that “[i]nstallation of the gasifiers

and assembly is proceeding exceptionally well” was materially false and misleading

because, in fact, the gasifier was experiencing significant problems and delays

throughout 2012, as described above at ¶¶115(a), 124(a), 131(a).
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        132. On November 29, 2012, in an article published in the Charlotte Business

Journal, Southern Company spokesman Tim Leljedal disputed a report, filed by the

Independent Monitor, that construction costs were likely to exceed $3 billion. The

article stated: “According to an email from Southern spokesman Tim Leljedal,

Mississippi Power ‘remains confident and recently confirmed its cost and schedule

projects’ for the Kemper County facility.”

        133. On December 18, 2012, Southern Company issued a news release, which

stated: “As we enter 2013, the project is nearly 75 percent complete and scheduled to

begin commercial operation in May 2014. In six months, the facility will begin initial

start-up activities for the combined cycle portion of the plant, which will generate the

electricity.”

        134. On December 28, 2012, in an AP news article, Defendant Fanning stated:

“Everything that I know, this plant was exceedingly well-built and well organized

during the construction period.”

        135. On January 9, 2013, Southern Company, issued a new release that stated:

“‘We’re less than 16 months from commercial operation and this facility will utilize

the cleanest technology available’ . . . said Tommy Anderson, vice president of

generation development. . . . The project, which is nearly 75 percent complete, is on

schedule to be completed by May 2014.”
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        136. On January 24, 2013, Southern Company issued a news release that

stated: “The [Kemper] project is on schedule for completion in May 2014 . . . .”

        137. On January 25, 2013, Defendant Beattie participated in Southern

Company’s Conference Call with securities analysts to discuss the Kemper Plant.

During that call, Defendant Beattie stated: “the project remains on track for a May

2014 in-service date when it is scheduled to begin providing clean, safe, reliable

energy to the citizens of Mississippi.”

        138. On January 30, 2013, Southern Company announced its fourth quarter

and fiscal year 2012 financial results and held a conference call for analysts, media

representatives and investors during which Defendants represented that the Kemper

Plant was still expected to be completed and placed in service by the critical May

2014 deadline. Specifically, Defendant Fanning stated:

        The second priority is achieving success with our major construction
        projects, specifically Plant Vogtle Units 3 and 4 and the Kemper project,
        both of which are continuing to progress in an outstanding manner.

                                      *      *      *
        Meanwhile, the Kemper project is now 75% complete and remains on
        track for its May, 2014 commercial operation date. To date,
        approximately $2.5 billion has been spent on the project. The plant is
        scheduled to begin start-up activities this summer, with first fire going to
        the CTs in June, and the first gasifier heat-up taking place in
        December. Reliable syn gas is expected to begin flowing to the CTs in
        February, 2014.

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        139. On the same call, Defendant Beattie responded to an analyst question

regarding key construction milestones at Kemper. Specifically, Defendant Beattie

stated:

        We’ve got specific work on the gasifiers going on. That’s going to be
        completed sometime within the next quarter. And that is a critical piece
        of it. We still have piping that is being installed, as well. So those are
        kind of the critical elements, at this point.

        140. On February 26, 2013, Southern Company issued a news release that

stated: “The project is scheduled to begin operation in May 2014.”

        141. On February 28, 2013, Southern Company filed its consolidated Form

10-K for fiscal year 2012. The Form 10-K included the following information

regarding the Kemper Plant: “The Kemper IGCC is scheduled to be placed in-service

in May 2014.”

        142. Defendants Fanning, Beattie and Day signed the consolidated Form 10-K

containing this statement. In addition, Defendants Fanning, Beattie and Day signed

Certifications pursuant to Sarbanes Oxley in which Defendants attested that the report

containing this statement “does not contain any untrue statement of material fact or

omit to state a material necessary to make the statements made, in light of the

circumstances under which such statements were made, not misleading with respect to

the period covered by this report.” Defendants Fanning, Beattie and Day also attested


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that they had designed disclosure controls to ensure that material information relating

to the Company was made known to them.

        143. On March 4, 2013, Mississippi Power filed its Kemper Monthly Status

and Cost Report with the PSC. The report stated: “Project is on schedule.”

        144. Defendants knew or recklessly disregarded that the statements set forth in

¶¶132-143 were false and misleading or omitted material information necessary to

make them not misleading for the following reasons:

              (a)    The Kemper Plant was not “on schedule,” and was neither “nearly

75 percent complete” nor “75% complete,” due to major delays in the installation of

the gasifier, the most critical and complex part of the project, as described ¶¶115(a),

124(a), 131(a), above. The gasifier delays from early 2012 continued to adversely

impact the schedule through the end of the Class Period.

              (b)    The Kemper Plant was not “on schedule,” and was neither “nearly

75 percent complete” nor “75% complete,” due to several key engineering schedule

delays that began in early 2012 and continued through early 2013, as described in

¶131(b), above.

              (c)    The Kemper Plant was not “on schedule,” and was neither “nearly

75 percent complete” nor “75% complete,” as a result of significant construction


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delays tied to piping, pipe hangers and other major commodities (steel, concrete,

cable, etc.), as described in ¶¶115(c), 124(c), 131(c), above. Further:

             The Independent Monitor noted that, throughout 2012 and into 2013,
              there was a dramatic increase in construction bulk quantities. The
              increase in major commodities required to build the Kemper Plant as of
              March 2013 is shown in the chart below:
                                 Unit of       Certification     Forecast as of
                 Commodity      Measure         Quantity          March 2013      variance
              Concrete       Cubic Yards                50,181            106,960     113%
              Steel          Tons                       28,168             37,810      34%
              Plant Piping   Linear Feet               605,946            855,957      41%
              Cable          Linear Feet             3,218,675        11,860,997      269%

See ¶¶79-104.

             The number of pipe supports which were required for the Project
              increased from approximately 16,000 at the start of the project to
              approximately 59,000 as of March 2013 – an increase of 269%.27

              (d)   The Kemper Plant was not “on schedule,” and was neither “nearly

75 percent complete” nor “75% complete,” due to massive increases in the amount of

labor required to complete the plant, which led to delays and inefficiencies, as

described in ¶131(d), above. In addition, the Independent Monitor analyzed labor

productivity rates as of March 2013 and identified inefficiencies resulting from lack of

engineering support, lack of materials availability, and craft labor congestion.

Specifically, concrete, steel and piping installation rates (i.e. the number of man-hours

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   Independent Monitor’s Surrebuttal Testimony before the Mississippi Public
Service Commission at 17.
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required per unit of material) through March 2013 were running approximately 30%

to 40% higher than plan.28

                  (e)   In addition to the specific delays detailed ¶144(a)-(d), above, the

Kemper Plant was not “on schedule,” and was neither “nearly 75 percent complete”

nor “75% complete,” for the reasons set forth in ¶¶115(d), 131(e), above. Further, by

March 2013, the late delivery of major equipment to the site had caused “major delays

and impacted the sequencing of the construction and installation of the equipment.”

See ¶¶79-104.

                  (f)   The May 2014 COD was impossible to achieve due to major

delays in the installation of the gasifier, the most critical and complex part of the

project, described at ¶¶115(a), 124(a), 131(a), above. These delays directly impacted

the May 2014 COD as described at ¶115(e), above.

                  (g)   The May 2014 COD was impossible to achieve in light of

significant construction delays tied to piping, pipe hangers and other major

commodities (steel, concrete, cable , etc.), as described at ¶¶115(c), 124(c), 131(c),

144(c), above. These delays directly impacted the May 2014 COD as described at

¶¶115(f), 131(g), above.


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     Id. at 62.
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              (h)   In addition to the evidence of specific delays detailed in ¶144(f)-

(g), above, additional evidence that the Kemper Plant’s May 2014 COD was

impossible to achieve included the evidence described at ¶¶115(g), 124(g), 131(h),

above.

              (i)   As a result of the numerous schedule and construction delays

described at ¶¶115(a)-(d), 124(a)-(d), 131(a)-(e), 144(a)-(e), above, Defendants were

forced to artificially manipulate the schedule to maintain the May 2014 COD, as

described at ¶¶115(h), 124(h), above.

              (j)   Defendant Fanning’s statement describing the progress of the

gasifier, including his assertion that “reliable syn gas is expected to begin flowing to

the CTs in February, 2014,” was materially false and misleading because, in fact, the

gasifier was experiencing significant problems and delays throughout 2012 and into

2013, as described above at ¶¶115(a), 124(a), 131(a), above.29

              (k)   Defendant Fanning’s statement that the Kemper “plant was

exceedingly well-built and well organized during the construction period” was false

and misleading because, in reality, the construction period was fraught with




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   In fact, syngas to the combustion turbine was not achieved until November 17,
2016.
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significant construction delays and problems, as described at ¶¶115(a)-(d), 124(a)-(d),

131(a)-(e), 144(a)-(e), above.

        145. On April 2, 2013, Mississippi Power filed its Kemper Monthly Status and

Cost Report with the PSC. The report stated: “Project is on schedule.”

        146. On April 24, 2013, following the release of its first quarter 2013 financial

results, Southern Company held a conference call for analysts, media representatives

and investors during which Defendants disclosed a $540 million ($333 million after-

tax or $0.38 per share) Kemper Plant cost overrun but, nevertheless, represented that

construction of the Kemper Plant was on schedule to be completed and up and running

by May 2014. Specifically, Defendant Fanning stated:

        We continue to make tremendous progress at the Kemper site with
        most of the major components in place, the combined cycles, gasifiers,
        massive gas absorbers and lignite dome as well as a 75-acre reservoir,
        the facility’s appearance reflects our progress with start-up activities
        which are now 40% complete.

                                     *      *      *
        We continue to believe that the scheduled in-service date is achievable.

        147. On May 10, 2013, Southern Company filed its consolidated Form 10-Q

for the first quarter of 2013. The Form 10-Q stated: “The Kemper IGCC [is]

scheduled to be placed in service in May 2014.”



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        148. Defendants Fanning, Beattie and Day signed the consolidated Form 10-Q

containing this statement. In addition, Defendants Fanning, Beattie and Day signed

Certifications pursuant to Sarbanes Oxley in which Defendants attested that the report

containing this statement “does not contain any untrue statement of material fact or

omit to state a material necessary to make the statements made, in light of the

circumstances under which such statements were made, not misleading with respect to

the period covered by this report.” Defendants Fanning, Beattie and Day also attested

that they had designed disclosure controls to ensure that material information relating

to the Company was made known to them.

        149. On May 15, 2013, Mississippi Power filed its Kemper Monthly Status

and Cost Report with the PSC. The report stated: “Project is on schedule.”

        150. On June 3, 2013, Mississippi Power issued a Form 8-K which attached

the Kemper Plant Monthly Status and Cost Report filed with the PSC. The status

report stated: “Project is on schedule.”

        151. On July 1, 2013, Southern Company issued a Form 8-K which attached

the monthly Kemper Plant status report Mississippi Power filed with the Mississippi

PSC. That monthly status report stated: “Project is on schedule.”

        152. On July 30, 2013, Southern Company issued a Form 8-K which attached

the monthly Kemper Plant status report Mississippi Power filed with the Mississippi
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PSC. The monthly status report revealed that total plant costs had ballooned to $4.72

billion – 47% greater than the amount disclosed at the beginning of the Class Period

just 14 months earlier. Despite the cost overruns, Defendants reassured investors:

“Mississippi Power plans to meet the May 2014 in-service date, however, the

Company could experience schedule delays associated with construction and startup

activities for this first-of-a-kind technology.”

        153. On July 31, 2013, Southern Company issued a press release announcing

its second quarter 2013 financial results. In the press release, Defendant Fanning

stated: “Despite recent cost challenges, we are making great progress in the

construction of the Kemper County energy facility . . . .”

        154. After releasing its second quarter 2013 financial results, on July 31, 2013,

Southern Company held a conference call for analysts, media representatives and

investors during which Defendants represented that construction of the Kemper Plant

was on schedule, still expected to be completed and up and running by May 2014.

Specifically, Defendant Fanning stated:

        [C]onstruction at the Kemper County energy facility is also progressing
        well. Since our last earnings call, the lignite mine has been placed into
        service and the final heavy lift, as well as a significant portion of the
        startup activities for the combined cycling unit, has been completed.
        Recognizing that piping is a key area of focus at this stage of the project,
        it’s important to note that 90% of the piping has been fabricated and

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        almost half is installed. And that we have been achieving our key
        installation targets for steel and pipe.

        Looking ahead for the remainder of 2013, startup activities include the
        first fire of the first combustion turbine in late August, [synching] the
        steam turbine to the grid in October, and heating up the first gasifier by
        year end. Our May 14 in-service date, to which our construction and
        startup plans are tied, remains achievable.

        155. On August 6, 2013, Southern Company filed its consolidated Form 10-Q

for the second quarter of 2013. The Form 10-Q stated: “The Kemper IGCC . . . [is]

scheduled to be placed in-service in May 2014.”

        156. Defendants Fanning, Beattie and Holland signed the consolidated Form

10-Q containing this statement. In addition, Defendants Fanning, Beattie and Holland

signed Certifications pursuant to Sarbanes Oxley in which Defendants attested that the

report containing this statement “does not contain any untrue statement of material

fact or omit to state a material necessary to make the statements made, in light of the

circumstances under which such statements were made, not misleading with respect to

the period covered by this report.” Defendants Fanning, Beattie and Day also attested

that they had designed disclosure controls to ensure that material information relating

to the Company was made known to them.

        157. On August 30, 2013, Mississippi Power issued a Form 8-K which

attached the Kemper Plant Monthly Status and Cost Report filed with the PSC. The


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report stated: “Mississippi Power plans to meet the May 2014 in-service date;

however, the Company could experience schedule delays associated with construction

and startup activities for this first-of-a-kind technology.”

        158. On September 12, 2013, Southern Company issued a press release that

stated:

        Construction milestones reached at Kemper, first fire of CT complete.

        Gulfport, Miss. – Mississippi Power’s Kemper County energy facility
        has reached several major construction milestones, including the first fire
        of the facility’s two combustion turbines (CT). The first fires were
        completed Aug. 28 on the first CT and Sept. 4 on the second CT.

        “Firing up the combustion turbines is an important milestone in both the
        construction and startup phases of the Kemper County energy facility,”
        said John Huggins, vice president of generation development. . . .

        “This milestone is further indication that we are one step closer to the
        startup of the plant.”

        159. Defendants knew or recklessly disregarded that the statements set forth in

¶¶145-158 were false and misleading or omitted material information necessary to

make them not misleading for the following reasons:

              (a)    The Kemper Plant was not “on schedule” due to major delays in

the installation of the gasifier, the most critical and complex part of the project, as

described in ¶¶115(a), 124(a), 131(a), above. The gasifier delays described above

continued to adversely impact the schedule through the end of the Class Period. For

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example, shortly after arriving at Kemper in the summer of 2013, CW-1 noticed that

the gasifier was only two stories high and should have been 10 stories by that date, an

indication it was behind schedule.

             (b)    The Kemper Plant was not “on schedule” as a result of significant

construction delays tied to piping, pipe hangers and other major commodities (steel,

concrete, cable, etc.), as described in ¶¶115(c), 124(c), 131(c), 144(c), above. In

addition, on June 5, 2013, Yvonne Avila (a Project Engineer for the Kemper Plant)

sent an email to Brett Wingard (the Engineering & Procurement Manager for the

entire Kemper Plant) alerting him to “two potentially big issues,” including an

additional 200,000 linear feet of piping needed to finish the job. See ¶51.

             (c)    The Kemper Plant was not “on schedule” due to massive increases

in the amount of labor required to complete the plant, which led to delays and

inefficiencies, as described in ¶¶131(d), 144(d), above. In addition,

            By August 2013, construction labor forces peaked at approximately
             6,540 craft labor personnel. By contrast, when the Kemper Project
             commenced construction, Southern Company Services projected a peak
             labor force of approximately 1,200 craft labor personnel. Thus, the total
             work force was 438% higher than originally forecast. See ¶¶79-104.

            The initial detailed staffing plan for pipe installation, developed in
             November 2012 called for 450 full time equivalent pipe workers. The




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             staffing requirements for the piping ultimately exceeded 1,500 pipe
             workers – three times the November 2012 plan values.30

             (d)   In addition to the specific delays detailed ¶159(a)-(c), above, the

Kemper Plant was not “on schedule” for the reasons set forth in ¶¶115(d), 131(e),

144(e), above.

             (e)   The May 2014 COD was impossible to achieve due to major

delays in the installation of the gasifier, the most critical and complex part of the

project, described at ¶¶115(a), 124(a), 131(a), 159(a), above. These delays directly

impacted the May 2014 COD as described at ¶115(e), above. Further, in July 2013,

senior managers (including Defendant Huggins) met for three days to discuss the

schedule concerns of the Gasification Technologies Group.          At that meeting,

Defendant Huggins asked Wingo to create a schedule for gasification startup. In mid-

September, Wingo completed the schedule requested by Huggins, which demonstrated

that there was no possible way to achieve the May 2014 COD. See ¶68.

             (f)   The May 2014 COD was impossible to achieve in light of

significant construction delays tied to piping, pipe hangers and other major

commodities (steel, concrete, cable , etc.), as described at ¶¶115(c), 124(c), 131(c),



30
   Independent Monitor’s Surrebuttal Testimony before the Mississippi Public
Service Commission at 33.
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144(c), 159(b), above. These delays directly impacted the May 2014 COD as

described at ¶¶115(f), 131(g), above.

             (g)   In addition to the evidence of specific delays detailed in ¶159(e)-

(f), above, further evidence that the Kemper Plant’s May 2014 COD was impossible

to achieve included the evidence described at ¶¶115(g), 124(g), 131(h), above. In

addition:

            The project team discussed the likelihood that the May 2014 COD could
             not be achieved at the July 2013 monthly production meeting. See
             Pegasus Global Holdings, Inc. Kemper County IGCC Project (May 23,
             2014) at 338.

            CW-4 noted that construction of the lignite conveyer system, a
             significant component of the Kemper Plant, experienced significant
             delays during 2013. See ¶77.

             (h)   As a result of the numerous schedule and construction delays

described at ¶¶115(a)-(d), 124(a)-(d), 131(a)-(e), 144(a)-(e), 159(a)-(c), above,

Defendants were forced to artificially manipulate the schedule to maintain the May

2014 COD, as described at ¶¶115(h), 124(h), above.

             (i)   Defendants’ statements about “several major construction

milestones,” including “first fire” of the combustion turbines, were materially false

and misleading because Defendants concealed significant gasifier problems and other

construction delays that were ongoing throughout 2012 and 2013, as described above


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at ¶¶115(a), 124(a), 131(a), 159(a). In addition, while Defendant Huggins touted that

“[f]iring up the combustion turbines is an important milestone in both the construction

and startup phases of the Kemper County energy facility,” he concealed that the

milestone was originally scheduled to occur by June 17, 2013 and was, thus, almost

three months delayed.

        160. As described in detail at ¶¶190-217, below, beginning in April 2013,

partial disclosures regarding construction problems at the Kemper Plant gradually

removed artificial inflation from Southern Company common stock. Ultimately, on

October 29 and 30, 2013, Defendants revealed that the Kemper Plant was not on

schedule and would not meet the May 2014 COD as a result of significant

construction delays caused by the problems alleged herein.

VII. POST CLASS PERIOD REVELATIONS AND ADDITIONAL
     EVIDENCE OF SCIENTER
        161. By virtue of the facts set forth below at ¶¶162-189 and the other facts set

forth at §§V. and VI., supra, it may be strongly inferred that Defendants knew or

recklessly disregarded that the statements in §VI., supra, were materially false and

misleading to investors.




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        A.    The New York Times Exposé
        162. As alleged herein, the first public revelation of Defendants’ deliberate

fraudulent conduct came on July 5, 2016, when The New York Times published an

investigative report titled: “Piles of Dirty Secrets Behind a Model ‘Clean Coal’

Project.” See ¶¶48-55. In short, The New York Times concluded that “the plant’s

owners drastically understated the project’s cost and timetable, and repeatedly tried to

conceal problems as they emerged.”

        B.    Brett Wingo
        163. As alleged herein, the Wingo evidence provides additional detail of

Defendants’ deliberate fraudulent conduct. See ¶¶56-72. Despite Defendants’

attempts to silence Wingo from revealing any information about the Kemper Plant

after he rejected a $1 million offer to keep quiet, his story was eventually made public.

As alleged in detail at ¶¶56-72, Wingo described Defendants’ “lies, deceptions and

half-truths” related to the Kemper Plant schedule.

        C.    The SEC Investigation
        164. On May 14, 2016, The Wall Street Journal reported:

        Southern’s Clean-Coal Woes Mount

        Kemper facility in Mississippi now faces SEC investigation on top of
        skyrocketing costs


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         A Mississippi power plant intended as a showcase for clean-coal
         technology has turned into a costly mess for utility Southern Co., which
         is now facing an investigation by the Securities and Exchange
         Commission . . . .

         165. In its May 2016 SEC filing, Southern Company acknowledged that the

SEC had commenced a “formal investigation of Southern Company and Mississippi

Power concerning the estimated costs and expected in-service date of the Kemper

IGCC. Southern Company and Mississippi Power believe the investigation is focused

primarily on periods subsequent to 2010 . . . .”

         D.    Internal Directives to Conceal Evidence of the Fraud

         166. Fearing that the truth about the construction schedule and the inability to

meet the COD would be revealed, Defendants went out of their way to conceal their

fraudulent conduct. CW-2 said that Kemper employees were warned not to discuss

the scheduling delay at the Kemper Plant with any outsiders, such as members of the

press.

         167. In August 2012, Defendant Day sent the following internal email (which

was first revealed to the public by The New York Times exposé) ordering employees

not to leak schedule information to the public without approval:




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        168. Likewise, in December 2012, Tim Pinkston, a senior manager at the

Kemper Plant, sent an email to engineers emphasizing the requirement that upper

management approve all external communications related to the Kemper Plant:

“[Mississippi Power] is now requiring approval for all presentations both external and

internal that have any information related to the Kemper project. Please let me know

if you get a request to do a presentation and be prepared to provide a copy of your

presentation for approval as early as possible.”31

        E.    Motive

        169. Defendants had the motive and opportunity to commit the alleged fraud

during the Class Period. As previously discussed in ¶44, by the beginning of the Class


31
     https://www.thehistoryproject.com/media/embed/3mVL7.
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Period, Defendants had secured hundreds of millions of dollars in financial incentives,

including IRS tax credits, in connection with the construction of the Kemper Plant.

As a result, it was critically important for Defendants to maintain publicly that the

Kemper Plant remained on schedule and would meet its May 2014 COD.

        170. Mississippi Power received $133 million in Phase I 48A tax credits from

the IRS under the National Energy Policy Act of 2005. Retaining this tax credit,

however, was entirely contingent on meeting the May 2014 COD. According to the

Independent Monitor, “the May 2014 [completion date] was driven by many factors

including, most importantly, the $133 million 48A Phase I Investment Tax Credit

. . . that required a COD no later than May 11, 2014.” The importance of meeting

the 48A tax credit deadlines – or at least maintaining publicly that the Company

would meet these deadlines – was clearly understood by Defendants. In fact, shortly

after the Class Period, Defendant Huggins described the implications of missing the

COD associated with the Phase II 48A Tax Credits as a “financial Armageddon” of

lost tax subsidies, spooked investors, possible bankruptcy, and harsh criticism from

the news media, regulators and lawmakers. See ¶¶48-55.

        171. Defendants had further motive to conceal that the Kemper Plant would

miss the May 2014 COD because of deadlines imposed by the PSC. The Mississippi

PSC approved a ratepayer-funded allowance to cover the financing of construction
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costs through the originally scheduled COD date: May 1, 2014. Thus, Defendants

knew that construction financing costs incurred before this date could be passed on to

Mississippi Power utility customers whereas all construction financing costs incurred

after this date would be paid by the Company. Because investors knew this fact too,

Defendants had a strong motive to conceal that they would not meet the May 2014

COD.

        172. Defendants’ agreement with SMEPA provided them with an additional

motive to conceal the Kemper Plant schedule delays. Prior to the Class Period,

Mississippi Power entered into an asset purchase agreement with SMEPA whereby

SMEPA agreed to purchase a 15% undivided interest in the Kemper Plant. As part of

the agreement, SMEPA had an option during the Class Period to purchase the 15%

interest until the plant was completed. On March 6, 2012, Mississippi Power received

a $150 million interest-bearing refundable deposit from SMEPA to be applied to the

purchase price at closing. However, Mississippi Power would be required to refund

the $150 million deposit upon the termination of the asset purchase agreement, within

60 days of a request by SMEPA. Thus, Defendants were aware during the Class

Period that any schedule delays threatened the execution of the agreement and could

result in their obligation to immediately refund the $150 million deposit, providing

Defendants with a strong motive to conceal the schedule delays. After the Class
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Period, on May 20, 2015, SMEPA terminated the asset purchase agreement. As a

result of the termination, Defendants were required to return $275 million of deposits

(including the $150 million deposit received during the Class Period) to SMEPA, with

interest of approximately $26 million. The Wall Street Journal reported: “South

Mississippi Electric Power Association, which furnishes power to smaller utilities in

the state, dropped its plan to buy a $600 million, 15% stake in the project spearheaded

by Atlanta-based Southern Co. SO 0.51%, citing construction delays.”32

        173. Defendants’ contract with Treetop Midstream Services LLC (“Treetop”)

gave them yet another motive to conceal the Kemper Plant schedule delays. Before

the beginning of the Class Period, Mississippi Power entered into a contract with

Treetop to sell CO2 captured from the Kemper IGCC. As part of this agreement,

Treetop began construction of a CO2 offtake pipeline in March 2013. Thus,

Defendants were aware that any schedule delays, in which the plant was not

operational and CO2 byproduct was not being captured and delivered to Treetop,

could jeapordize the contract with Treetop. Thus, Defendants had a motive to conceal

the schedule delays from Treetop. In fact, after Defendants failed to meet the May

2014 COD, Treetop filed a fraud lawsuit on June 9, 2016 against Southern Company,


32
     https://www.wsj.com/articles/coal-fired-power-plant-loses-steam-1432330865.
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Southern Company Services, and Mississippi Power for misrepresenting that the

Kemper Plant would be operational by May 2014. In its complaint, Treetop alleged

that in reliance on the May 2014 start date, it had expended over $100 million to build

a CO2 recapture pipeline. Treetop also alleged that Defendants knew the May 2014

schedule was not feasible in March 2013 when Treetop began construction on the

CO2 pipeline. Specifically, Treetop alleged:

               Beginning in February 2012, Treetop participated in monthly
        meetings with the Southern Company Defendants to discuss the
        construction schedule for Treetop’s CO2 pipeline. When theses monthly
        meetings began, the Southern Company Defendants were aware that the
        Facility would not be completed by the May 2014 Start Date reported in
        their SEC filings. The Southern Company Defendants also knew that the
        Facility would not be completed prior to the May 11, 2015 termination
        date in Treetop’s Offtake Agreement.

        174. The PSC approval process for a rate increase provided Defendants an

additional motive to conceal the Kemper Plant schedule delays. During the Class

Period, Defendants requested that the PSC approve a customer rate increase to cover

the Kemper Plant construction costs. Defendants were aware that revealing the

significant schedule delays and construction problems described herein could

endanger the PSC’s approval of the rate increase. In March 2013, the Mississippi PSC

issued the 2013 MPSC Rate Order approving retail rate increases of 15% effective

March 19, 2013. However, after the Class Period, on February 12, 2015, the


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Mississippi Supreme Court ruled that Mississippi Power had to repay ratepayers

approximately $377 million for increasing utility rates 15% in 2013 and 3% in 2014

based on expenses Southern Company incurred in building the Kemper Plant. In its

decision, the Mississippi Supreme Court highlighted the schedule delays and cost

overruns that had been disclosed by Defendants at the end of the Class Period: “To put

the expanse of the project in context, the projected cost is greater than the entire

budget for the State of Mississippi for both the 2014 . . . and the 2015 fiscal year. . . .

As of the date of this opinion, the portion of the plant which uses integrated

gasification combined cycle (IGCC) is not online.”

        175. In addition to its promises to investors, Defendants had at least the

following five separate and distinct reasons to conceal that the Kemper Plant was not

on schedule and would not meet the May 2014 COD: (1) the IRS Phase I 48A tax

credits; (2) the PSC-imposed deadline to recover construction financing costs from

ratepayers; (3) the asset purchase agreement with SMEPA; (4) the contract with

Treetop; and (5) the PSC’s approval of a customer rate increase.

        F.    Defendants Actively Managed the Construction of the
              Kemper Plant
        176. As alleged herein, Defendants actively monitored or managed the

construction of the Kemper Plant. As a result, Defendants knew of or recklessly


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disregarded the significant schedule delays and construction problems that existed

during the Class Period.

        177. Defendant Fanning, as CEO of Southern Company, spoke frequently

regarding the status of the Kemper Plant on earnings calls, providing detailed

statements about the gasifier and other construction activities. Fanning specifically

assured investors that executives of Southern Company and Mississippi Power “meet

regularly on this project.” Defendant Fanning also indicated during a November 5,

2012 earnings call that with respect to the Kemper Plant “[w]e continue to actively

manage ongoing pressures on costs and schedule.” As part of his efforts to actively

manage the project, Defendant Fanning frequently visited the Kemper Plant, where he

toured the construction site in a bright red golf cart and met with construction

managers. See ¶74. As a result of his regular site visits, Fanning witnessed the piping

and gasifier problems first hand.      Defendant Fanning also participated in the

Executive Review Committee for the Kemper Plant.             The Executive Review

Committee was tasked with assessing the Kemper Plant’s progress to ensure it

remained “on time, on budget, and in full compliance with all pertinent safety and

quality requirements.”33 Defendant Fanning, as Southern Company CEO, was


33
     Southern Company Proxy Statement on Schedule 14A (Apr. 11, 2014).
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additionally tasked with approving the Committee’s final assessment for the Kemper

Plant each quarter.34 Fanning met regularly with senior executives at the Engineering

& Construction Services division who were in charge of building the plant, as well as

with Mississippi Power executives like Ed Day, to receive updates on the project. See

¶76. Defendant Fanning also signed Sarbanes Oxley certifications in which he

attested that he had designed and tested the effectiveness of disclosure controls to

ensure that material information relating to the Company was made known to him.

           178. Defendant Beattie, as CFO of Southern Company, likewise spoke

frequently regarding the status of the Kemper Plant on earnings calls, providing

detailed statements about the gasifier and other construction activities. See §VI.,

supra. Defendant Beattie met “regularly on this project” with Fanning, Day and

other senior managers.      Beattie met regularly with senior executives at the

Engineering & Construction Services division who were in charge of building the

plant, as well as with Mississippi Power executives like Ed Day, to receive updates on

the project. See ¶76. Further, Defendant Beattie signed Sarbanes Oxley certifications

in which he attested that he had designed, and tested the effectiveness of disclosure




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     Id.
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controls to ensure that material information relating to the Company was made known

to him.

        179. Defendant Day, who was the CEO of Mississippi Power, actively

monitored and managed the Kemper Plant project given that it was the largest project

in the history of Mississippi Power. In fact, Defendant Day was “always” at the

Kemper Plant (see ¶75), and thus witnessed first-hand the visible construction delays.

Defendant Day met “regularly on this project” with Fanning, Beattie and other senior

managers. See §VI., supra; see also ¶76. Defendant Day also signed Sarbanes Oxley

certifications in which he attested that he had designed, and tested the effectiveness of,

disclosure controls to ensure that material information relating to the Mississippi

Power was made known to him.

        180. Defendant Holland was an Executive Vice President, General Counsel,

and Corporate Secretary of Southern Company through May 2013 and the Executive

Vice President and Chairman, President, and Chief Executive Officer of Mississippi

Power from May 2013 through the end of the Class Period. Defendant Holland was

actively involved in the Kemper Plant project given that it was the largest project in

the history of Mississippi Power. Defendant Holland also signed Sarbanes Oxley

certifications in which he attested that he had designed, and tested the effectiveness of,


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disclosure controls to ensure that material information relating to the Mississippi

Power was made known to him.

        181. Defendant Huggins was a Southern Company Services general manager

for Kemper Plant startup, engineering, and construction services, prior to his

promotion to Vice President of Mississippi Power in May 2013. In sworn testimony

before the Mississippi PSC, Huggins stated: “Mississippi Power and the Generation

Development team, which I manage, have responsibility for the Kemper Project.” See

¶25. Defendant Huggins was on site “all the time” (see ¶75), and thus witnessed first-

hand the visible construction delays. Huggins was actively involved in managing the

construction of the Kemper Plant and attended monthly production meetings in which

the gasifier delays and other construction delays were discussed. See ¶¶56-72.

        182. Defendant Anderson served as an executive officer of Mississippi Power,

holding the title of Vice President of Generation Development through May 2013.

Anderson was responsible for “oversee[ing] management of the Kemper IGCC

Project.” See Pegasus Global Holdings, Inc. Kemper County IGCC Project (May 23,

2014) at 217. In sworn testimony before the Mississippi PSC, Anderson stated that he

had the “primary responsibility for managing the Company’s effort to develop the

Kemper Project. In this role, [he] overs[aw] the work being conducted and ha[d]

access to the resources and information necessary and sufficient to make a
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determination concerning the Company’s [construction] efforts.” See ¶26. Defendant

Anderson was at the Kemper site “regularly.” See ¶75. Wingo said that Anderson

was very “hands on” and would “manage it down to the weeds” by micromanaging

the design and procurement process.

        183. Collectively, Defendants actively monitored and managed the Kemper

Plant project. Defendants also understood the significance of the construction delays

and problems that occurred during the Class Period. As Defendant Anderson testified

before the PSC, “[t]his is not our ‘first rodeo.’ We are well aware of the issues

affecting successful construction of large generation projects . . . .”

        G.    CWs and Other Sources Confirm that the Construction
              Delays Were Widely Known Within the Company
        184. Multiple sources have confirmed that, during the Class Period, it was

widely acknowledged among employees and project managers at the Kemper Plant

that the plant was experiencing significant delays and would not meet the May 2014

COD. For example, Wingo stated that, during the Class Period, the gasifier delay and

its impact on the overall schedule was discussed during monthly production meetings,

which Wingo usually attended. CW-2 stated it was clear from the start of CW-2’s

employment in 2011 that the May 2014 COD would not be possible to achieve.

According to CW-2, this concern was widely acknowledged and regularly discussed


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by employees at the Kemper Plant with whom CW-2 spoke. CW-3 said that there

were certainly discussions among employees in early 2012 that the Kemper Plant

would not be completed on schedule. CW-4 said that throughout 2013, CW-4 and

other individuals working at the Kemper Plant routinely discussed that it was not

realistic that the plant would be finished at any time in 2014. CW-5 sat in regular

weekly meetings, with Kemper Plant upper managers as well as project managers

representing various construction contractors from different sections of the plant on

which they were working. CW-5 said that at these meetings, various construction

delays were discussed.

        185. These sources also confirmed that Company management directed them

not to discuss the delays. Wingo was ordered to stop sending emails on the matter

because they could become public through litigation. After expressing concerns

regarding these issues to managers in emails, CW-1 was told by managers Tom Noble

and Mark Webb that these concerns should not be put in writing and that email was

the “kiss of death” at the Kemper Plant. CW-1 said that generally employees were

discouraged from circulating negative information about the Kemper Plant in emails.

According to CW-1, every time CW-1 identified a problem or concern, CW-1 was

told to be a team player and admonished: “You need to learn how to play ball.” CW-2

said that Kemper employees were warned not to discuss the scheduling delay at the
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Kemper Plant with any outsiders, such as members of the press. CW-5 raised

concerns about the schedule to project managers, who completely dismissed CW-5’s

concerns, saying only that they had everything under control and CW-5 should not

worry about it. At some point after this incident, CW-5 was demoted to senior quality

inspector. In August 2012, Defendant Day sent an internal email (which was first

revealed to the public by The New York Times exposé) ordering employees not to leak

schedule information to the public without approval.

        H.    The Magnitude of the Schedule Delay
        186. The fact that the Kemper Plant is still not operational more than three

years after the May 2014 COD is further evidence that Defendants knew or recklessly

disregarded that the May 2014 COD was not achievable during the Class Period. The

magnitude of the May 2014 COD miss (totaling 37 months and counting) and

associated cost overruns (the cost estimate is now over $7.5 billion versus $2.395

billion at the start of the Class Period) makes it highly implausible that Defendants

were unaware of the falsity of their Class Period statements that the Kemper Plant was

“on schedule.”

        187. As depicted in the chart below, Defendants have missed, and pushed

back, its COD deadline 12 times between late 2013 and 2017. As of June 12, 2017,

the plant is still not operational and according to media reports on the most recent
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schedule delay in early June, “Southern’s Kemper plant faces years of continued

work on gasifier units.”35 In addition, the estimated project now exceeds $7.5 billion,

nearly triple the original cost estimate.




        188. To put the magnitude of the schedule miss in context of Defendants’

Class Period statements, the following chart shows how far Defendants’ Class Period

statements veered from the truth. For each quarter, the red bar shows the number of

months remaining to COD as disclosed by Defendants during the Class Period,

whereas the blue bar shows the actual remaining months until COD (assuming the

plant reaches COD by June 30, 2017 – the currently disclosed deadline). For

35
   http://www.utilitydive.com/news/updated-southerns-kemper-plant-faces-years-of-
continued-work-on-gasifier/444262/.
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example, in August 2012, Defendants assured investors that “commercial operation

of its Kemper County integrated gasification combined cycle plant [is] less than [24

months] away.” As shown below, COD was, at best, almost 60 months away at that

time. The sheer magntude by which the Kemper Plant has missed its May 2014 COD

makes it highly likely that Defendants knew or recklessly disregarded that their Class

Period statements were false or misleading.

                           68
                                                                                            Actual
                                                                                            Disclosed
                           58
 Months Remaining to COD




                           48


                           38


                           28


                           18


                            8
                                    1Q12      2Q12      3Q12     4Q12      1Q13      2Q13      3Q13


                                189. In addition to the overall schedule COD, the magnitude of the schedule

misses on individual construction milestones, all of which were scheduled to be

completed during the Class Period, shows that Defendants likely knew or recklessly




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disregarded that their Class Period Statements were false and misleading. For

example,

            Defendants stated during the Class Period that a key gasifier milestone,
             “syngas to combustion turbine” would be achieved by December 2013.
             In fact, syngas to the combustion turbine was not achieved until
             November 17, 2016, almost three years later.

            Defendants stated in April 2013 that that “start-up activities . . . are now
             40% complete” and that the “scheduled in-service date is achievable.”
             Defendants also represented that the start-up phase would only take a
             period of several months after the gasifier heat-up was achieved (see,
             e.g., Defendants’ July 31, 2013 statement: “[t]he first gasifier heat-up in
             late December, and the in-service date of May 2014”). In fact, the
             Kemper Plant remains in the start-up phase as of June 2017, more than
             three years after the scheduled May 2014 COD date. Defendants have
             now admitted that they fully anticipated delays in the start-up and
             commissioning phase of the Kemper Plant. See, e.g., May 26, 2015:
             “[The Kemper Plant is nearly 100% complete but] still needs about a
             year of tinkering and testing to ensure it can operate safely, reliably and
             efficiently. ‘You don’t build any plant and you just turn it on and it
             works . . . there’s always things you have to adjust on.’”36 Likewise, by
             July 2016, over two years after the scheduled completion date of May
             2014, Defendants acknowledged that start-up and commissioning
             process was still nowhere near complete: “[of the 14 systems we need to
             integrate to achieve COD], so far we think we’ve integrated or at least
             demonstrated maybe eight of those 14 systems.”

            Defendants stated repeatedly during the Class Period that the Kemper
             Plant construction was “progressing on schedule.” As alleged herein,
             piping was one key area that suffered critical delays. The piping
             problems were clearly visible throughout the Class Period. In fact,

36
   Darren Samuelsohn, Billions Over Budget. Two Years After Deadline. What’s
Gone Wrong for the “Clean Coal” Project that’s Supposed to Save an Industry,
Politico, May 26, 2015.
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             almost two years after the Class Period, Defendant Holland admitted that
             the piping was visibly incomplete as late as April 2015: “If you had
             gone[ to the Kemper site] in [February –April 2015] and stood up in the
             top of the facility and looked down, you would have seen pipe and other
             equipment out in the laydown yards. Go up there today, and it’s
             virtually cleared – all that’s been installed.”37

VIII. LOSS CAUSATION
        190. Defendants’ wrongful conduct, as alleged herein, directly and

proximately caused plaintiffs and class members’ economic loss. Plaintiffs’ claims

for securities fraud are asserted under the fraud on the market theory of reliance. The

markets for Southern Company’s common stock were open, well-developed and

efficient at all relevant times. During the Class Period, as detailed herein, Defendants

made false and misleading statements by misrepresenting that the Kemper Plant was

on schedule and would be completed by the May 2014 COD. Defendants’ conduct

artificially inflated the price of Southern Company common stock and operated as a

fraud or deceit on the Class.

        191. The Class Period inflation in Southern Company’s stock price was

removed when information concealed by Defendants’ false or misleading statements

was revealed to the market. The information was disseminated through several partial

37
   Haskell Burns, Holland: Kemper plant “about 99 percent complete,” Hattiesberg
American,           Oct.         7,         2015           (available         at
http://www.hattiesburgamerican.com/story/news/local/2015/10/07/kemper-county-
plant-nearing-completion/73525592/).
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disclosures that slowly revealed the nature and extent of schedule delays at the

Kemper Plant. These disclosures, as more particularly described below, removed

artificial inflation from Southern Company common stock, causing economic injury to

plaintiffs and other members of the Class.

        192. The corrective impact of the partial disclosures during the Class Period

alleged herein, however, was tempered by Defendants’ continued false and misleading

statements that the Kemper Plant was on schedule and that Defendants would meet the

2014 COD. Defendants’ continued misrepresentations maintained the price of

Southern Company common stock at a level that was inflated by fraud, inducing

members of the Class to continue purchasing shares in Southern Company even after

Defendants’ partial disclosures.

        193. None of the partial disclosures was sufficient on its own to fully remove

the inflation from Southern Company’s stock price, because each only partially

revealed the nature and extent of the Kemper Plant’s schedule delays that had been

concealed from investors. As a result of these partial corrective disclosures of truth

and the materialization of the risks concealed by Defendants’ misrepresentations and

omissions, the price of Southern Company common stock fell from $48.65 per share

at the close of trading on April 23, 2013 (when the truth began to enter the market) to

$40.91 per share at the close of trading on October 31, 2013 – a 16% decline.
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        194. The disclosures that corrected the market price to eliminate the inflation

maintained by Defendants’ fraud are detailed below. The following stock price

declines are not necessarily comprehensive since fact and expert discovery are not

complete.     These stock price declines were due to firm-specific fraud-related

disclosures and not the result of market, industry, or firm-specific non-fraud factors.

Furthermore, Southern Company is a low volatility stock in a low volatility industry.

During the Class Period, Southern Company’s volatility net of market (S&P 500) and

industry (S&P Electric Utilities), as measured by the standard deviation, was only

0.35%. Consequently, very small deviations in Southern Company’s stock price

returns could still be significant compared to the overall market and industry.

        195. Partial disclosures relating to the schedule delays affecting the Kemper

Plant began to enter the market on April 24, 2013, when, following the release of its

first quarter 2013 financial results, Southern Company held a conference call for

analysts, media representatives and investors and disclosed a $540 million ($333

million after-tax or $0.38 per share) cost overrun for the Kemper Plant, a change to

the quantity and quality of piping used, and “[an] increase[] in the amount of labor

needed to achieve our in-service date.” At the same time, Defendants reassured

investors that construction of the Kemper Plant was on schedule to be completed and

operational by May 2014. Specifically, Defendant Fanning stated:
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        We continue to make tremendous progress at the Kemper site with
        most of the major components in place, the combined cycles, gasifiers,
        massive gas absorbers and lignite dome as well as a 75-acre reservoir,
        the facility’s appearance reflects our progress with start-up activities
        which are now 40% complete.

                                     *     *       *
        We continue to believe that the scheduled in-service date is achievable.

        196. Analysts tied the disclosure of a cost overrun and Defendants’ comments

regarding piping and labor increases to an increased likelihood that the Kemper Plant

could miss its critical May 2014 COD. For example, on April 24, 2013, KeyBanc

issued a report, noting: “We will be focused on . . . [p]otential for delays/cost

pressures at the Kemper County plant.”

        197. Likewise, on April 24, 2013, Wells Fargo issued a report, stating:

        IGCC Costs. The main culprit behind the Kemper Plant’s estimated
        capital cost increase to $3.42B from $2.88B appears to be three-fold
        related to piping – (1) increasing the quality and thickness of the pipe,
        (2) the amount of piping needed was under-estimated and (3)
        labor/productivity related costs. [Southern Company] has added an
        overnight shift in an effort to complete the additional work by the May
        2014 in-service date and qualify for the $133MM of investment tax
        credits. We note Duke Energy has faced similar piping/labor pressures
        at its Edwardsport IGCC project which has led to multiple significant
        cost increases and timing delays. We are hopeful [Southern Company]
        management has completely and accurately assessed the status of the
        Kemper project so that further timing and cost revisions are not
        necessary.



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Finally, on April 25, 2013, SunTrust issued a report, stating: “While historically the

stock has traded at an 8%-10% valuation premium, we believe concerns surrounding

the potential for further cost escalation and timing delays at the large projects in

construction – Kemper (coal gasification) and Vogtle (nuclear) – will prevent that

premium from expanding at this time.”

        198. Southern Company’s announcement that it was increasing (1) its cost

estimate for the Kemper Plant, (2) the quantity and quality of piping used, and (3) the

amount of labor needed to achieve the May 2014 COD was a materialization of the

risks concealed by Defendants’ false assurances that the plant was on schedule and

would be operational by the May 2014 deadline.

        199. As a result of this partial disclosure, the price of Southern Company stock

declined 1.3% on volume of more than 7 million shares to close at $48.03 per share on

April 24, 2013. This decline caused Southern Company to sustain a market cap loss

of more than a half-billion dollars. In contrast to the 1.3% decline in Southern

Company common stock, the Philadelphia Utility Index increased by 0.3% on April

24, 2013.38 Defendants’ continued false and misleading statements that the Kemper


38
    Southern Company was one of approximately 20 companies that constitute the
Philadelphia Utility Index. Southern Company used the Philadelphia Utility Index in
its executive compensation analysis, closely tracked it during the Class Period, and
acknowledged that it contained many of Southern Company’s peers.
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Plant would meet the May 2014 COD, however, maintained the artificial inflation in

the price of Southern Company’s common stock.

        200. After the close of the market on July 1, 2013, Defendants made a second

partial disclosure, issuing a Form 8-K which attached the monthly Kemper Plant

status report that Mississippi Power filed with the Mississippi PSC. While the

monthly status report reaffirmed the $3.42 billion cost estimate, it cautioned:

        Management is currently reviewing additional cost pressures associated
        with ongoing construction activities, inventory necessary to mitigate
        startup risk, startup energy costs, and other startup activities, as well as
        productivity. This review is expected to be completed in July 2013 and
        any related changes to specific cost categories would be reflected in the
        Monthly Status Report through June 2013. Management has reviewed a
        portion of these items on a preliminary basis and has identified a
        minimum of approximately $160 million in likely cost increases.
        Further material cost increases may be identified as management
        completes its review.

Despite the cautions related to the Kemper Plant costs, Defendants reassured the

market and investors that the “[p]roject is on schedule.”

        201. Following the release of the status report, Deutsche Bank issued a

“Southern Company Alert,” stating that “management disclose[d] that they are

conducting a review . . . associated with ongoing construction activities, inventory

necessary to mitigate startup risks, and productivity . . . we suspected there might well

be another shoe to drop after [Southern Company] replaced the Mississippi Power


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leadership team [in May 2013].” A July 1, 2013 AP article noted: “[W]hen asked

whether the company has control of the project, [Mississippi Power spokeswoman

Amoi] Geter replied, ‘[w]e still believe the 2014 completion date is achievable.’ She

declined to answer additional questions, citing the preliminary status of the review.”

        202. Southern Company’s announcement that there were “likely cost

increases” and that it was “reviewing additional cost pressures associated with

ongoing construction activities, inventory necessary to mitigate startup risk, startup

energy costs, and other startup activities, as well as productivity” was a

materialization of the risks concealed by Defendants’ false assurances that the plant

was on schedule and would be operational by the May 2014 deadline.

        203. As a result of this second partial disclosure, the price of Southern

Company stock declined 0.5% on volume of more than 4.5 million shares to close at

$43.61 per share on July 2, 2013. This decline caused Southern Company to sustain a

market cap loss of nearly $200 million. In contrast to the decline in the price of

Southern Company’s common stock, the Philadelphia Utility Index was flat.

Defendants’ continued false and misleading statements that the Kemper Plant would

meet the May 2014 COD, however, maintained the artificial inflation in the price of

Southern Company’s common stock.


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        204. On July 30, 2013, Southern Company made a third partial disclosure,

issuing a Form 8-K which attached the monthly Kemper Plant status report

Mississippi Power filed with the Mississippi PSC. The monthly status report

disclosed that the estimate of certified costs had increased to $3.87 billion – an

increase of $450 million or 13%. The Kemper Plant status report also disclosed that

total plant costs had ballooned to $4.72 billion – 47% greater than the amount

disclosed at the beginning of the Class Period just 14 months earlier. In addition, the

monthly status report disclosed the possibility of schedule delays for the Kemper

Plant. Despite disclosing cost overruns and the possibility of schedule delays,

Defendants reassured the market and investors: “Mississippi Power plans to meet the

May 2014 in-service date . . . .”

        205. On July 31, 2013, Southern Company issued a press release announcing

its second quarter 2013 financial results. In the press release, Defendants disclosed

“after-tax charges of $278 million (32 cents per share) . . . related to increased cost

estimates for the construction of Mississippi Power’s Kemper County project.” The

press release included the following reassurance from Defendant Fanning: “‘Despite

recent cost challenges, we are making great progress in the construction of the

Kemper County energy facility . . . .’”


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        206. Analysts tied the disclosures of cost overruns and the possibility of

schedule delays to the increased likelihood that the Kemper Plant could miss its

critical May 2014 COD. For example, on August 2, 2013, RBC issued a report,

noting: “In-service delay or further upside revision to the Mississippi IGCC cost

projection prompts need for additional equity and causes further dilution.” On August

5, 2013, UBS issued a report, stating:

        Despite the substantial writedowns in the first two quarters, we remain
        concerned as to Kemper’s schedule, with both the risk of losing the
        project’s Investment Tax Credit (ITC) eligibility if not in service on-time
        (May 2014), as well as associated funding costs of a project timeline
        delay (estimated at ~$40 M/month). We understand the ITC could be
        upsized $90M should it succeed in capturing 70%+ CO2. This is a
        critical issue to follow as not only are additional costs over the ~$2.9B
        cap not recoverable, but the firm faces substantial penalties/disincentives
        if it misses the May 2014 date.

        207. Southern Company’s announcement of cost overruns and increased cost

estimates for the construction of the Kemper Plant was a materialization of the risks

concealed by Defendants’ false assurances that the plant was on schedule and would

be operational by the May 2014 deadline.

        208. As a result of this third partial disclosure, the price of Southern Company

common stock declined on both July 31 and August 1, 2013. On July 31, 2013, the

stock declined 1.3% on volume of 9.6 million shares to close at $44.84 per share on

July 31, 2013. This decline caused Southern Company to sustain a market cap loss of
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more than a half-billion dollars. In contrast to the decline of Southern Company’s

stock of 1.9%, the Philadelphia Utilities Index declined only 1.3% on August 1. The

decline caused by the partial disclosure continued on August 1, 2013, when the price

of Southern Company stock declined 1.1% on volume of 5 million shares to close at

$44.35 per share. The decline caused Southern Company to sustain a market cap of

approximately $428 million on August 1, 2013. In contrast to the decline of Southern

Company’s stock, the Philadelphia Utilities Index rose by 0.8% on August 1, 2013.

Defendants’ continued false and misleading statements that the Kemper Plant would

meet the May 2014 COD, however, maintained the artificial inflation in the price of

Southern Company’s common stock.

        209. After the close of the market on October 2, 2013, Mississippi Power

made a fourth partial disclosure, filing a Form 8-K with the SEC in which it stated:

              Mississippi Power is revising the construction schedule for the
        Kemper IGCC as the result of abnormally wet weather and lower-than-
        planned construction labor productivity, and currently expects that the
        Kemper IGCC will be placed in service later in 2014 than the originally
        scheduled in-service date of May 2014.

        210. As a result of the news that the Kemper Plant would be delayed, the price

of Southern Company stock declined 1.9% on volume of nearly 9 million shares on

October 3, 2013. The decline caused Southern Company to sustain a market cap loss



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of $679 million. In contrast, the Philadelphia Utility Index declined only 1.3% on

October 3, 2013.

        211. The stock continued to trade at artificially inflated levels, however,

because Defendants blamed the schedule delay on inclement weather and concealed

the multitude of engineering, start-up, and construction problems that plagued the

Kemper Project. Indeed, in an October 2, 2013 Deutsche Bank report entitled, “Rain

delays play at Kemper,” analysts emphasized that “the explanation for this latest

hiccup seems somewhat benign.” Tellingly, this disclosure paled in comparison to

Defendants’ disclosure a month later that revealed that the delay was due to “labor

costs and productivity, adverse weather conditions, shortages and inconsistent

quality of equipment, materials, and labor, or contractor or supplier delay or non-

performance under construction or other agreements” as well as the prospect for

“further schedule extensions associated with start-up activities for this ‘first-of-a-

kind’ technology, including major equipment failure, system integration, and

operations, and/or unforeseen engineering problems . . . .”

        212. On October 29, 2013, Defendants disclosed that the schedule delay was

attributable to far more than just bad weather, as they had originally reported.

Defendants further disclosed that the Kemper Plant would not be in operation until the

fourth quarter of 2014, rather than late 2014, as they had previously reported. In a
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Form 8-K issued by Southern Company after the close of the market on October 29,

2013, Defendants stated:

              In October 2013, Mississippi Power’s management completed its
        review of the construction schedule and construction costs for the
        Kemper IGCC. As a result of this review, on October 28, 2013,
        Mississippi Power revised the scheduled in-service date for the Kemper
        IGCC to the fourth quarter 2014 primarily as the result of lower-than-
        planned installation levels for piping as well as abnormally wet weather.

               Also on October [29, 2013, after the close of the market]
        Mississippi Power further revised its cost estimate for the Kemper IGCC
        to approximately $4.02 billion . . . . The revised cost estimate primarily
        reflects costs related to the schedule extension, including contingency.
        Mississippi Power does not intend to seek any joint owner contributions
        or rate recovery for any costs related to the construction of the Kemper
        IGCC that exceed the $2.88 billion cost cap, except for amounts subject
        to the Cost Cap Exceptions and net of the DOE Grants. As a result of
        the revised cost estimate, Southern Company and Mississippi Power will
        record a pre-tax charge to income for this estimated probable loss of
        $150 million ($93 million after tax) in their third quarter 2013 financial
        statements in addition to charges totaling $990 million ($611 million
        after tax) that have been recognized previously.

               Mississippi Power could experience further schedule extensions
        and/or construction cost increases with respect to the Kemper IGCC as a
        result of factors including, but not limited to, labor costs and
        productivity, adverse weather conditions, shortages and inconsistent
        quality of equipment, materials, and labor, or contractor or supplier
        delay or non-performance under construction or other agreements.
        Furthermore, Mississippi Power could also experience further schedule
        extensions associated with start-up activities for this “first-of-a-kind”
        technology, including major equipment failure, system integration, and
        operations, and/or unforeseen engineering problems, which would
        result in further cost increases. To the extent it becomes probable that
        additional costs will not be recoverable, Southern Company and

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        Mississippi Power will have additional charges to income, and such
        charges could be material.

        213. On October 30, 2013, Southern Company issued a press release

announcing its third quarter 2013 financial results. Southern Company reported third

quarter 2013 earnings of $852 million, or $0.97 per share, and revenues of $5.02

billion. Southern Company also disclosed an after-tax charge of $93 million ($0.11

per share) “related to increased cost estimates for the construction of Mississippi

Power’s Kemper County project.”

        214. After releasing its third quarter 2013 financial results on October 30,

2013, Southern Company held a conference call for analysts, media representatives,

and investors during which Defendants reiterated the $93 million Kemper Plant

project cost overrun and a delay of the in-service date to year-end 2014. Specifically,

Defendants stated:

               Now for an update on the Kemper County project. Earlier this
        month, we announced that we did not expect to meet the original May
        2014 in-service date for the Kemper project, largely as a result of lower-
        than-expected production rates and delays from wet weather. After
        recalibrating our assumptions on the rate of pipe installation, we have
        revised the in-service date to the fourth quarter of 2014.

               In conjunction with the schedule change, we have recorded an
        additional pretax estimated loss of $150 million. As a reminder, we
        estimated the incremental cost for a delay to be approximately $15
        million to $25 million per month. Our new estimate is consistent with
        that projection and also retains a $100 million contingency.

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               Tremendous progress continues to be made at the site. We are
        now nearly halfway complete with pipe installation, have fired both
        combustion turbines and have synced the entire two-on-one combustion
        cycle to the grid.

                                      *      *      *
              So look, we are very proud of [Kemper]. We made a mistake on
        the engineering. We agreed to price cap without having done fully our
        homework on the deal.

                                      *      *      *
              And I’ll just tell you some. We believe the problem at Kemper
        was essentially at the time that we made a fixed price commitment with
        10% engineering done at 6.7% contingency. In other words, the problem
        has been one more of a lack of engineering that was completed, rather
        than construction. By all accounts, the construction of Kemper has gone
        very well.

                                      *      *      *
               Let’s go through that a little bit. Early on when we talked about it,
        we did see weather being the major thing. I remember right out of the
        gate we had some ambitious targets, and right out of the gate we hit our
        targets. That’s the tone you were getting from us.

               As we progressed on installing the pipe, particularly, it’s almost
        hard to imagine unless you’ve been there. I know some of you have
        been to the site and you’ll know what I’m talking about. A, there’s a lot
        of pipe. B, there’s different kinds of pipe, wide bore pipe. There is
        small bore pipe. Some of the pipe is outside the physical structure of the
        gasifier island and the gas handling system. Some of it is in constrained
        spaces inside the structure.

              Obviously, what we have found is that production levels that we
        saw early were not able to be sustained because a lot of the work ended
        up being detail work inside the structure. We just didn’t maintain the
        kind of productivity that we wanted to see. Further, and we kind of

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        alluded to this, we are now at over two shifts of 2,000 craft people per
        day working on this issue. And to some extent, there’s a saturation at the
        site.

                In other words, we don’t think it’s productive to add more people
        and add more shifts and everything else. We’re where we want to be
        here. And part of changing the schedule – I suppose that we could have
        done more and try to keep May. But we felt that for the overall health of
        the project it was important for us to take this new schedule, put people
        to work in a more efficient manner and get the work done. So it’s kind
        of all that combination.

        215. The following day, October 31, 2013, an analyst at Wells Fargo

downgraded Southern Company stock. The analyst report stated:

        [Kemper] IGCC Cost Increased Again . . . to $4.02B – up from the July’s
        $3.87B estimate. [Kemper] IGCC project charges have been piling up
        since May 2013 and now total $1.14B . . . .

                                     *      *      *
        [U]ntil important milestones such as the gasifier heat up (mid-to-late
        Q2’14) and placing it into service (Q4’14) are achieved, additional
        risks exists.

        216. When Defendants finally came clean that the Kemper Plant was not on

schedule and would not meet the May 2014 COD because of major construction

delays, Southern Company’s stock declined on both October 30 and 31, 2013. On

October 30, 2013, the stock declined nearly 1.2% on volume of more than 6.7 million

shares to close at $41.90 per share on October 30, 2013. This decline caused Southern

Company to sustain a market cap loss of $432 million. In contrast to the 1.2% decline


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in the price of Southern Company stock, the Philadelphia Utility Index declined by

just 0.6%. The decline caused by this disclosure continued the following day, October

31, 2013, when the price of Southern Company stock fell almost 2.4% on volume of

7.6 million shares to close at $40.91 per share. This decline caused Southern

Company to sustain a market cap loss of $873 million. In contrast to Southern

Company’s stock price decline of 2.4%, the Philadelphia Utility Index fell by just

0.4%.

        217. The chart below shows Southern Company’s stock price during the Class

Period and the dates of Defendants’ disclosures:




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IX.     APPLICABILITY OF THE PRESUMPTION OF RELIANCE
        AND FRAUD ON THE MARKET

        218. Plaintiffs will rely upon the presumption of reliance established by the

fraud-on-the-market doctrine in that, among other things:

              (a)   Defendants made public misrepresentations or failed to disclose

material facts during the Class Period;

              (b)   The omissions and misrepresentations were material;

              (c)   Southern Company common stock traded in an efficient market;

              (d)   The misrepresentations alleged would tend to induce a reasonable

investor to misjudge the value of Southern Company common stock; and

              (e)   Plaintiffs and other members of the Class purchased Southern

Company common stock between the time Defendants misrepresented or failed to

disclose material facts and the time the true facts were disclosed, without knowledge

of the misrepresented or omitted facts.

        219. At all relevant times, the market for Southern Company common stock

was efficient for the following reasons, among others:

              (a)   Southern Company common stock met the requirements for listing,

and was listed and actively traded on the NYSE, a highly efficient and automated

market;


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              (b)   As a regulated issuer, Southern Company filed periodic public

reports with the SEC; and

              (c)   Southern Company regularly communicated with public investors

via established market communication mechanisms, including through regular

dissemination of press releases on the major news wire services and through other

wide-ranging public disclosures, such as communications with the financial press,

securities analysts and other similar reporting services.

X.      NO SAFE HARBOR
        220. Many (if not all) of Defendants’ false and misleading statements during

the Class Period were not forward-looking statements (“FLS”) and/or identified as

such by Defendants, and thus did not fall within any “Safe Harbor.”

        221. Defendants’ verbal “Safe Harbor” warnings accompanying its oral FLS

issued during the Class Period were ineffective to shield those statements from

liability.

        222. Defendants are also liable for any false or misleading FLS pleaded

because, at the time each FLS was made, the speaker knew the FLS was false or

misleading and the FLS was authorized and/or approved by an executive officer of

Southern Company and/or Mississippi Power who knew that the FLS was false.

Further, none of the historic or present tense statements made by Defendants were
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assumptions underlying or relating to any plan, projection or statement of future

economic performance, as they were not stated to be such assumptions underlying or

relating to any projection or statement of future economic performance when made.

XI.     CLASS ACTION ALLEGATIONS
        223. Plaintiffs bring this action as a class action pursuant to Rule 23 of the

Federal Rules of Civil Procedure on behalf of all persons who purchased or otherwise

acquired Southern Company common stock during the Class Period (the “Class”).

Excluded from the Class are Defendants and their families, the officers and directors

of the Company, at all relevant times, members of their immediate families and their

legal representatives, heirs, successors or assigns, and any entity in which Defendants

have or had a controlling interest.

        224. The members of the Class are so numerous that joinder of all members is

impracticable. The Company’s stock is actively traded on the NYSE, and there are

nearly 980 million shares of Southern Company stock outstanding. While the exact

number of Class members is unknown to plaintiffs at this time and can only be

ascertained through appropriate discovery, plaintiffs believe that there are hundreds or

thousands of members in the proposed Class. Record owners and other members of

the Class may be identified from records maintained by Southern Company or its



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transfer agents and may be notified of the pendency of this action by mail, using the

form of notice similar to that customarily used in securities class actions.

        225. Common questions of law and fact predominate and include: (i) whether

Defendants violated the 1934 Act; (ii) whether Defendants omitted and/or

misrepresented material facts; (iii) whether Defendants knew or recklessly disregarded

that their statements were false and misleading; and (iv) whether Defendants’

statements and/or omissions artificially inflated the price of Southern Company

common stock and the extent and appropriate measure of damages.

        226. Plaintiffs’ claims are typical of the claims of the members of the Class as

all members of the Class are similarly affected by Defendants’ wrongful conduct in

violation of federal law that is complained of herein.

        227. Plaintiffs will fairly and adequately protect the interests of the members

of the Class and have retained counsel competent and experienced in class and

securities litigation.

        228. A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy since joinder of all members is

impracticable. Furthermore, as the damages suffered by individual Class members

may be relatively small, the expense and burden of individual litigation make it


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impossible for members of the Class to individually redress the wrongs done to them.

There will be no difficulty in the management of this action as a class action.

XII. CLAIMS FOR RELIEF

                                            COUNT I

                    For Violation of §10(b) of the 1934 Act and Rule 10b-5
                                   Against All Defendants
        229. Plaintiffs incorporate ¶¶1-228 by reference.

        230. During the Class Period, Defendants disseminated or approved the false

statements specified above, which they knew or recklessly disregarded were

misleading in that they contained misrepresentations and failed to disclose material

facts necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading.

        231. Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:

              (a)      Employed devices, schemes and artifices to defraud;

              (b)      Made untrue statements of material facts or omitted to state

material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading; or

              (c)      Engaged in acts, practices and a course of business that operated as

a fraud or deceit upon plaintiffs and others similarly situated in connection with their

purchases of Southern Company common stock during the Class Period.
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        232. Plaintiffs and the Class have suffered damages in that, in reliance on the

integrity of the market, they paid artificially inflated prices for Southern Company

common stock. Plaintiffs and the Class would not have purchased Southern Company

common stock at the prices they paid, or at all, if they had been aware that the market

prices had been artificially and falsely inflated by Defendants’ misleading statements

and omissions.

        233. As a direct and proximate result of these Defendants’ wrongful conduct,

plaintiffs and the other members of the Class suffered damages in connection with

their purchases of Southern Company common stock during the Class Period.

                                         COUNT II

                            For Violation of §20(a) of the 1934
                               Act Against All Defendants
        234. Plaintiffs incorporate ¶¶1-233 by reference.

        235. During the Class Period, Defendants acted as controlling persons of

Southern Company within the meaning of §20(a) of the 1934 Act. By virtue of their

positions and their power to control public statements about the Company, the

Individual Defendants had the power and ability to control the actions of the Company

and their employees. Southern Company controlled the Individual Defendants and its

other officers and employees. By reason of such conduct, Defendants are liable

pursuant to §20(a) of the 1934 Act.
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XIII. PRAYER FOR RELIEF
        WHEREFORE, plaintiffs pray for judgment as follows:

        A.    Determining that this action is a proper class action, certifying plaintiffs

as class representatives under Rule 23 of the Federal Rules of Civil Procedure, and

designating plaintiffs’ counsel as Class Counsel;

        B.    Awarding plaintiffs and the members of the Class damages and interest;

        C.    Awarding plaintiffs’ reasonable costs, including attorneys’ fees; and

        D.    Awarding such equitable/injunctive or other relief as the Court may deem

just and proper.

XIV. JURY DEMAND
        Plaintiffs demand a trial by jury.

DATED: June 12, 2017                    ROBBINS GELLER RUDMAN
                                         & DOWD LLP


                                                    /s/ John C. Herman
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                            CERTIFICATE OF SERVICE
        I hereby certify that on June 12, 2017, I authorized the electronic filing of the

foregoing with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the e-mail addresses denoted on the attached Electronic

Mail Notice List.

        I certify under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct. Executed on June 12, 2017.

                                              /s/ John C. Herman
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Mailing Information for a Case 1:17-cv-00241-MHC
Monroe County Employees' Retirement System v. The
Southern Company et al
Electronic Mail Notice List

The following are those who are currently on the list to receive e-mail notices for this
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Manual Notice List

The following is the list of attorneys who are not on the list to receive e-mail notices for
this case (who therefore require manual noticing). You may wish to use your mouse to
select and copy this list into your word processing program in order to create notices or
labels for these recipients.
• (No manual recipients)
